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 1   SUPREME COURT OF THE CITY OF NEW YORK
     COUNTY OF NEW YORK:    PART 41
 2   -----------------------------------------x
 3   THE PEOPLE OF THE STATE OF NEW YORK               INDICTMENT NO.

 4                                                     4041/2018

 5                      -against-

 6   JOHN KISNMAN   &   MAXWELL HARE,
                                  Defendant.
 7   -----------------------------------------x
                                    100 Centre Street
 8                                  New York, N.Y. 10013
                                    August 1, 2019
 9

10   HONORABLE:
11                                           MARK DWYER,

12                                  Justice of the Supreme Court.

13   APPEARANCES:

14              FOR THE PEOPLE:

15                       CYRUS VANCE, JR., ESQ.
                              DISTRICT ATTORNEY
16                            NEW YORK's COUNTY
                         BY: JOSHUA STEINGLASS, ESQ.
17                            JAMIE KELIDMAN, ESQ.
                              AMBER STRICKLAND, ESQ.
18

19              FOR THE DEFENDANT:

20                       JACK G. GOLDBERG, ESQ.
                              225 BROADWAY
21                            NEW YORK, NEW YORK

22                       RONALD P. HART, ESQ.
                              225 BROADWAY
23                            NEW YORK, NEW YORK

24                                       YVONNE OVIEDO
                                    OFFICIAL COURT REPORTER
25
           Yvonne Oviedo, Senior Court Reporter
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 2                      (Whereupon, a brief recess was taken, after which

 3        the following proceedings were had:)
 4                     THE COURT: Are we ready to see if the jury can

 5        come in?
 6                     MR. GOLDBERG:    Yes.
 7                      (Pause in the proceedings)

 8                     COURT OFFICER: Jury entering.

 9                      COURT CLERK:    case on trial continues.

10                     THE COURT: Ladies and gentlemen, at this point we

11        will proceed with the evidence.
12                      People may call their first witness.

13                     MS. KLEIDMAN: People call Oren Segal.

14                     THE COURT: Ladies and gentlemen, you will see

15        throughout the trial that every time a witness is called we

16        have to pause for a minute or two.         That ' s because we don' t

17        want witnesses in the courtroom while other witnesses are

18        testifying, for reasons that I suppose are pretty obvious,

19        but it takes a minute or so, but it's worth the wait.

20                      COURT OFFICER: Witness entering.

21                      Remain standing.
22                      Please raise your right hand.

23                      COURT CLERK:    Do you swear or affirm that the

24        testimony you are about to give is the truth, the whole

25        truth, and nothing but the truth?



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 1                     THE WITNESS:     I do.
 2                     OREN SEGAL,    having been duly called as a witness,
 3    and having been duly sworn, testified as follows:
 4                     COURT OFFICER:     State your name, spelling your
 5    last name.
 6                      THE WITNESS :    Oren Segal, S E G A L.
 7                      THE COURT: You may examine.
 8        DIRECT-EXAMINATION
 9        BY MS .   KLEIDMAN:
10         Q.       Good morning.
11                      Where are you currently employed?

12         A.       I work for the Anti-Defamation League.

13         Q.       What is the Anti-Defamation League?
14         A.       The Anti-Defamation League is a hundred and six-year
15    old anti-hate organization, whose mission it to stop the
16    defamation of the Jewish people, but to also secure justice and
17    fair treatment for all.
18         Q.       How long have you worked at the Anti-Defamation League?

19         A.       I have been with ADL for approximately 20 years.

20         Q.       Going forward is it easier to call it ADL rather than

21    the Anti-Defamation League?
22         A.       I find it easier.
23         Q.       Prior to working there, where were you ernployed?

24         A.       Prior to ADL I was working at the New York Times for
25    about a year or so.



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 1         Q.     And tell the jury what your educational background is?

 2         A.     So, I'm a graduate of Wheaton College in Massachusetts.

 3    I'm an English major.
 4         Q.     What did you major in?
 5         A.     I majored in English.
 6         Q•     What is your current position at the ADL?

 7         A.     I am the director of ADL's Center on Extremism.

 8         Q.     How long have you been in that position for?

 9         A.     I have been in that position for about 13 years.

10         Q.     What is the ADL's Center on Extremism?

11         A.     The Center on Extremism at the ADL is focusing on

12    tracking and monitoring the extremist movement across the

13    idealogical spectrum.
14                      We go and investigate extremist movements on-line

15        and off-line.     We work to provide information to law

16        enforcement about emerging threats.         We work with the tech

17        industry to try to help deal with the exploitation of those

18        platforms and we stand up for communities when they are

19        victimized, to provide support and even intelligence.

20         Q.     You said you research across the idealogical spectrum.

21                      What do you mean by that?

22         A.     We are not looking at any one type of extremist .      We

23    sort of go where the hate is, if you will.
24                      So my group of analysts and investigators, and

25        experts, are spending time looking at the way those are



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 1        inspired by ISIS and Al Qaeda, that want to engage in
 2        violence.       We look at white supremacy, the far left extremism

 3        movement, anybody engaging in violence, or whose idealogy is
 4        predicated on forms of hate.
 5                        We are interested in learning more and frankly

 6        mitigating those threats.
 7         Q.     As director of the Center on Extremism, what are your

 8    duties and responsibilities?
 9         A.     My duties    and responsibilities vary.
10                        I oversee a team of about 14 investigators and

11        analysts, to make sure that we are prioritizing the right
12        issues, dealing with operations.
13                        I also, you know, investigate and try to educate

14        myself about as much of the extremist activities and their

15        tactics, as possible.
16                        I represent the Center on Extremism publically and

17        frequently in media, and conferences, working with law

18        enforcement.       So it's also managing the processes, directing

19        production, and frankly providing guidance and assistance.

20         Q.     You mentioned that you oversee a number of employees .

21                        Do any of your employees have a backgrrnmd in law

22        enforcement?
23         A.     Yes .    A couple of my investigators, certainly over a

24    period of time, have had law enforcement backgrounds and milita
25    backgrounds, in a couple of occasions.



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 1         Q.     Have you published any articles or papers on the
 2    subject of extremist groups and movements?
 3         A.     Yes.     So, the Center on Extremism publishes
 4                        MR. GOillBERG: Objection.

 5                        Question was did he publish.
 6                        THE COURT: Overruled.

 7         A.     The Center on Extremism publishes a range of blogs and

 8    reports, and analyses, on a regular basis, on the wide range of

 9    extremism that I mentioned.
10                        I particularly also have written multiple op-eds

11        on the subject of extremism over time and I also oversee the

12        actual production, providing editorial guidance to many of

13        the products that we produce.
14         Q.     So, the Center on Extremism, you publish your own

15    articles, but the group itself publishes articles on extremist

16    groups, is that correct?
17         A.     We do.
18         Q.     As director, do you oversee the process of writing and

19    putting these out to the public?
20         A.     I do.

21                        MR. GOillBERG: Objection, leading.

22                        THE COURT: Overruled.

23         A.     Do I oversee the process, yes.

24                        To be clear we are investigating and collecting

25        information all the time.       Then we have discussions.      I



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 1        discuss with my team, you know, is this something - - is that
 2        news worthy, that will help educate the public.           Is this
 3        something that will help people understand, you know, the
 4        complicated issues of extremism.        Then I decide how to
 5        outline and produce that piece.
 6         Q.     Have you personally written any op-eds on the subject
 7    of extremist groups and movements?
 8         A.     I have.
 9         Q•     Approximately how many?
10         A.     I would say dozens.      Perhaps ten or so in my own name.

11         Q.     Have you also been quoted and cited in other

12    publications about your work on these groups?
13         A.     Yes.     I am preliminarily cited by major domestic and

14    international media on issues of extremism.
15         Q.     Going back to the Center on Extremism.         It publishes

16    its own papers on the subject of the groups and movements.
17                        Has the center published materials on the Proud

18        Boys?
19         A.     We have.
20         Q.     Has it published material on Antifa?
21         A.     We have.
22         Q.     Now, you mentioned earlier that you provided assistance

23    to law enforcement.
24                        Can you explain it to the jury?

25         A.     Sure.



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 1                      So we work with law enforcement in two major ways.
 2        One is doing training.      So for state, local, federal law
 3        enforcement around the country we go in and teach them about
 4        the idealogy that extremists have and tactics they employ,
 5        symtx::)ls they use, so that they could have a better
 6        understanding of the trends that we are seeing.
 7                      We educate them so they are better prepared to
 8        identify extremists in their area.
 9                     Another way we work with law enforcement is if we
10        are seeing particular threats, a lot of these on-line,
11        somebody that might be threatening to attack a particular
12        corrmunity or particular group of people, you know, we see
13        something, we say something as well, and that ' s what we
14        provide; intelligence to law enforcement.
15         Q.     Have you testified on the subject of extremist groups
16    before?
17         A.     I have.
18                      MR. GOLDBERG: Objection.

19                      TI-IE COURT: Overruled.

20                      MR. GOLDBERG:    Did he say Court or before?

21                      TI-IE COURT: Testified before.

22                      MR. GOLDBERG: In Court?

23                      TI-IE COURT: Have you testified in Court?

24         A.     I have testified at a Congressional Hearing in
25    Washington, DC.



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 1                       MR. GOillBERG: So the answer is no.

 2                       THE COURT: I take it the answer is he has

 3        testified in a Congressional Hearing.
 4         Q.     Can you explain to the jury what       that was?
 5         A.     So, that particular testimony involved extremist and

 6    terrorist fund raising, focused on modern ways that extremists

 7    raise money through crypto-currency, et cetera.
 8                       But also I was there to also remind people that,

 9        you know, you raise money through basically donors, Go Fund

10        Me, campaign and membership dues, as well.          We looked at a

11        wide range of ways extremists are raising money.

12         Q•     When did you give that testimony before Congress?

13         A.     That was last year, I believe June or July, but I have

14    to double check.
15         Q.     June or July of 2018?
16         A.     Yes.
17         Q.     Aside from appearing before Congress, have you again

18    given written testimony to Congress?
19         A.     I have supplied written testimony on issues related to

20    extremists at large, right wing extremists, Islamic extremists,

21    and a whole range of topics, both on-line and off-line.

22         Q.     Have you spoken at conferences about extremist groups

23    before?
24         A.     I have.    I speak at conferences regularly, sometimes

25    several times a month, both in the United States, around the



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 1     country and internationally.        They are conferences either
 2     organized by law enforcement, academia, or think tanks, public
 3     events, et cetera.
 4          Q.     And what type of conferences are these that you are
 5     speaking at?
 6          A.     It's a range, I mean primarily these conferences tend
 7     to focus on developments in extremism and hate, because that's
 8     where my expertise lies.
 9          Q.     Have you spoken about either Proud Boys or Antifa in
10     going to these conferences?
11          A.     So, where I have spoken about Proud Boys and Antifa is
12     to some law enforcement audiences that I have spoken to, with a
13     lot of concern for law enforcement about how they will handle
14     these events.
15                      JVJR. GOLDBERG: Objection.
16                      THE COURT: I'll overrule the objection.
17         Q.     You can continue.
18         A.     How they deal with issues of extremism.          That's where
19    the majority of my time is spent, sort of discussing what I know
20    about Antifa, Proud Boys.       That being said, in the continuum,
21    looking at broader conversations, I'm confident that in other
22    conferences that are not law enforcement, that Proud Boys and
23    Anti fa have come up, and provided my perspective on that.
24         Q.     Have you received any awards or honors for your work?
25         A.     I have.    In 2006, the FBI provided me with an award for



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 1    public service, basically distinctive service in the public
 2     service.
 3                      MR. GOLDBERG: Sorry.          What year?
 4         A.     In 2006.
 5                      MS .   :ra..EIDMAN:    At this time I would ask that Oren

 6        Segal be qualified as as expert in extremist groups and

 7        movements.
 8                      MR. GOLDBERG: May I voir dire?

 9                      THE COURT:      Yes.
10        VOIR DIRE
11        BY MR. GOLDBERG:
12         Q•     Did you ever testify in Court?
13         A.     Not in a Court like this.           I do not think so, no.

14         Q.     Well, have you testified in some other Court?

15         A.     No.
16         Q.     So, we are talking about a Court like this.

17         A.     I have not.
18         Q.     And are you being paid to testify today?

19         A.     No.
20         Q.     When did you meet the District Attorney's Office?
21         A.     I have had relationships with District Attorney's
22    Offices individually.
23         Q.     This District Attorney's Office?

24                      THE COURT:      Sorry.     The Manhattan District

25        Attorney's Office, were you about to answer as to that?



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 1            A.   Yes, with these prosecutors, I spoke to them first a
 2    couple of weeks ago.
 3            Q.   Couple weeks ago?
 4            A.   Yes.
 5            Q.   And was that - - did you get a Subpoena?         Are you here

 6    because you volunteered, or they asked you to come?
 7            A.   They asked me to come.
 8            Q•   So you are not here under Subpoena?
 9            A.   I am not.
10            Q.   Now, you've never been published?
11            A.   That's not correct.
12            Q.   An op-ed was all that was published?

13            A.   Yes.
14            Q.   How many op-eds?     Ten?
15            A.   Yeah, I would say around ten.
16            Q.   Did you write an op-ed for the New York Times?

17            A.   No.    The New York Times, not under my name, no.

18            Q.   So you use another name?
19            A.   For colleagues, for my boss.
20            Q.   So you don't have anything published in the New York

21    Times?
22            A.   I do not.    I have been quoted in the New York Times,
23    not been published.
24            Q.   What about other newspapers that you've written op-eds

25     for?



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 1          A.      Yeah.
 2          Q.      What newspaper were they?       Would I recognize any of
 3     them?
 4          A.      Op-eds under my byline have appeared in Time Magazine,

 5     have appeared - - I have to go back and look - - in Ford, the
 6     Jerusalem Post.
 7                          Op-eds that have not been under my byline have

 8         appeared in the New York Times, Washington Post and

 9         eve:rywhere else.
10          Q.      So Jerusalem Post is the one with your name?
11                          THE COURT: I don't think that's - - could you ask

12         another question?
13                          MR. GOLDBERG: Sure.
14          Q.      Do you consider yourself an expert on terrorist groups?

15          A.      Yes.
16          Q.      Is Antifa a terrorist group?
17                          MS. KLEIDMAN:    Objection.

18                          THE COURT: I'll sustain as to the qualifications

19         issue.
20          Q.      What groups do you consider to be terrorists?

21                          MR. STEINGLASS: Objection.

22                          MR. GOLDBERG: I oppose him being qualified.    He's

23         never testified before.          A Judge has never qualified him as

24         an expert in a Court of law.
25                          THE COURT: Mr. Hart.



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 1                        MR. HART: Yes.
 2        VOIR DIRE
 3        BY MR. HART:
 4          Q.      Mr.   Segal, what op-eds have you written on the Proud

 5     Boys and Antifa?
 6         A.       Op-eds on the Proud Boys and Antifa, specifically,
 7     none.     Although there may have been some op-eds that I have
 8     written about right wing extremists, that have mentioned both.

 9         Q.       But no op-eds on the Proud Boys and Antifa?

10         A.       Not as the main subject.
11          Q.      And you never testified in a Court of law other than
12     today, about Antifa or Proud Boys, correct?
13         A.       Written testimony that I provided to Congressional
14     Hearings have mentioned the Proud Boys and Antifa, but not in an
15     oral testimony.
16          Q.      I'm not talking about Congress or written testimony but
17     oral testimony in a Court of law such as this.
18         A.       Correct.
19          Q.      You never testified?
20         A.       Correct.
21          Q.      You said you have been working for the Anti-Defamation

22     League for 20 years?
23         A.       Correct.
24          Q•      And during those 2 O years you covered various groups

25     that you viewed to be extremist groups?



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 1         A.     Correct.
 2         Q.     And these groups would include right wing extremist
 3    groups?
 4         A.     Correct.
 5         Q.     And amongst those right wing extremist groups are white
 6    nationalist groups?
 7         A.     Yes.
 8         Q.     White nationalist groups would be a group that would
 9    not allow minorities or Jews or gays in their group, would that
10    be a fair statement?
11                       MR. STEINGIASS : Objection.
12                       THE COURT: I agree.     That's inappropriate for this
13        examination.
14                       MR. HART: Okay.
15         Q.     And you said in 2006 you were given an award for your
16    public service.
17                       Was that by the FBI?
18         A.     FBI for exceptional service in the public interest.
19         Q.     And also, is it not, fair to say on or after 2012,
20     2014, the FBI stopped using you to designate terrorist groups?
21                       THE COURT: By you, do you mean him personally?

22         Q.     The .ADL of which you are a member.

23         A.     Um, I'm not sure.      The FBI used us to designate

24     terrorist groups, so I would say no, they did not stop.

25          Q.    What I understood your testimony is you trained the FBI



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 1     to help designate terrorist groups or - - withdrawn.
 2                Did you ever train the FBI to understand what is an

 3     extremist group?
 4         A.     Yes .    We train FBI and law enforcement on the tactics,
 5     idealogy, activities of extremist groups, of various kinds,
 6    movement of various kinds, not for the purpose of any list or
 7     designation, but to help educate them about what we are seeing.
 8                        What we do at ADL is different than what law
 9         enforcement does.
10                        MR. HART: That's all I have.
11                        THE COURT: I will overrule the objection and deem
12         this witness to be an expert in that subject area.
13                        MR. GOLDBERG: What subject area?
14                        THE COURT: On hate groups, I believe.
15                        How did you phrase it?
16                        MS . KLEIDMAN: Extremist groups and movements.
17                        THE COURT: I will tell you about what that means.
18                        Most witnesses are not allowed to give opinions.
19        Most witnesses simply tell you facts that they heard or
2O         observed.
21                        Expert witnesses are a little different.        They are
22         allowed to give opinions and background in the area of their
23         expertise.
24                        As always, though, with any witness, it's up to

25        you to decide whether to credit the testimony or not, and how



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 1        much weight to give to any testimony that you credit.           That I s
 2         as true for an expert as anybody else.         You are ultimately
 3         the finders of fact, and I'll talk about experts again at the
 4         end of the trial.
 5                        You may continue.
 6         CONTINUED DIRECT:

 7         Q.     You were just asked and I want to ask again, are you
 8    being compensated today for your testimony?
 9         A.     I am not.
1o         Q.     Or the fact you spoke to the District Attorney's Office
11     before?
12         A.     I am not.
13         Q.     Are you familiar with a group called Antifa?

14         A.     I am.
15         Q.     Explain to the jury what Antifa is?

16         A.     Sure.     First I would say I won't call it a group.
17    Antifa, I would call it more of a loosely affiliated movement.
18                Antifa stands for anti-fascist, so those who oppose

19     fascism.   This particular group of individuals, they are - -
2o    primary belief is that the only way to prevent nazism and fascis
21     from rising in this country, is to physically confront those that
22     support those ideas, in the street.        So, basically beat them up.
23                When they look at history they believe that in the '20s
24     and '30s, people were going into the street and beating up
25     people, those were pro-nazism, and they would prevent the rise of



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 1    nazism in Europe.
 2                        It's made up of a very loose knit sort of network
 3        of indivictuals .    There is no sort of membership or dues .
 4         It ' s people who share that idealogy; who feel that they have
 5         to physically confront those who they view as nazis or
 6         fascists in order to meet their agenda.
 7                       Some of them are made up of anarchists .         They have
 8        been around a lot.      They reject government.       Some may have
 9        views that are in opposition to police, or they view police
10        as sort of guarding those fascists and nazis, that they
11        oppose, et cetera.       It's not a particularly coherent group.
12         It's a movement of the people.
13                       And one last thing about them is that a lot of
14         times people refer to counter-demonstrators, those who are
15        protesting at white supremacy events, as all Antifa.
16                       Majority of counter-protesters are peaceful.         They

17        are there to express their opposition, but there are a

18        handful of those who are willing to engage in physical

19        violence in order to push back, and those are the Antifa.

20         Q.      A few follow-up questions to that.
21                 Is Antifa focused on specific groups themselves, as the

22     target of
23                        MR. GOLDBERG: Objection.

24                        THE COURT: Overruled.

25          Q•     As   the target of their - - sorry, I ' 11 rephrase .



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 1                 What specific groups does Antifa focus on?
 2          A.     So, Anti fa focuses on a range of groups and movements,
 3     and events.       So they oppose white supremacy, neo-nazis, a range
 4     of white supremacists; those who believe we need to live in a
 5     white ethno state, and all Muslims and Jews, and others, need to
 6     be removed.

 7                        They will protest them as they did in
 8         Charlottesville, or occurred here in New York.
 9                        From time to time they also oppose others who they
1O         consider to be nazis or white supremacists and that may
11         include at times those who are rallying together, who are
12        pro-T:r:ump.
13                        And so their definition, depending on the area of
14         the country, and those individuals involved, is pretty wide
15         range, in terms of where they will decide to counter
16        demonstrate.
17         Q.     What types of events do Anti fa indivictuals show up at?
18         A.     Usually Anti fa shows up at rallies, protests, events
19    that are held or organized by groups I mentioned before, white
20    supremacists and others.
21         Q.     And what does Antifa typically do when they show up at
22    these types of events?
23         A.     So, Anti fa tend to try to find ways to engage in
24    physical confrontations.       They are there to shout them down.   At
25    times they - - part of their tactics is to throw bottles, bike



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 1     locks, to throw bags filled with urine, to t:ry to reach those who
 2     they oppose, physically, with objects.         And at times they are
 3     also looking to get into their face and start a brawl.
 4           Q.    How do Antifa members usually dress?
 5           A.    So, the Antifa generally wear black clothes.           They will

 6     cover their face with a mask.       They don't want to be identified
 7    but that doesn't mean there are not Antifa supporters, those who

 8     engage in that activity, who are not wearing black.
 9                 The standard clothing tends to be black, but it doesn't

10    mean that if you are wearing black you are Antifa, and if you are

11    not, that you are not Antifa.
12           Q.    Does Antifa have a symbol that is associated with them?

13           A.    There tend to be multiple symbols .       Those can be

14     regionally based, because the standard for Antifa is two flags, a

15     red flag and black flag, with Antifa written in a circle around

16     it.
17           Q.    Showing you what we marked as People's Exhibit 1 for

18     identification.
19                  (Handing)
20                 Do you recognize that?
21           A.    This is a symbol of Antifa.
22                        THE COURT: Without telling us what it is, do you

23           recognize it?
24           A.    Yes.
25           Q.    What is it?



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 1         A.     This is the logo of Antifa, on what appears to be a
 2     flag.
 3         Q.     Does that fairly and accurately depict what the Antifa
 4     flag looks like?
 5         A.     Yes.
 6                       MS. KLEIDMAN: I offer that into evidence.
 7                       MR. GOLDBERG: No objection.
 8                       THE COURT: Exhibit 1 is in evidence.
 9                       MS. KLEIDMAN: I'll publish that to the Jury.
1o                       (Whereupon the Exhibit was displayed on the
11        screen).
12                       There are two different flags displayed in
13        People's 1.
14                       Can you explain to the jury what we are looking at

15        here?
16         A.     So, the flag on the bottom is the logo that I
17    described, sort of black flag, red flag, underneath with a circle
18     that says anti-fascist action.       So that's the symbol corrmonly
19    used by Antifa.
20                       The one above is also used by anti-fascists and at

21         times can also symbolize the anarchy.         As with most symbols,

22        most code words, context is always key.
23                       So where this would have appeared would also help

24         identify what is the intent behind it.
25          Q.    Who are the Proud Boys?



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 1          A.     So, the Proud Boys are a group, sort of group slash
 2     movement, that was created in 2016, founded by Gavin Mcinnes.
 3                 They essentially view themselves as sort of defending
 4     conservative values in this country, but have put a premium on
 5     the need to attack physically and confront their opponents who
 6     they view as the left; that is Antifa, that is the left, more
 7     broadly.
 8                      And at times certain members, leaders, have also
 9         engaged in language that is bigoted towards Muslims, towards
10         women, and towards others.
11                      So, I consider them to be an extremist group
12        because the tactics are extremist in terms of glorifying
13        violence, and objectionable, hateful corrments that are
14        sometimes made by some of its members.
15         Q.      So, explain more what tactics they use that you just
16    mentioned?
17         A.      So, Proud Boys tend to - - around the country, have
18    provided security at sort of free speech events, is how they
19    describe it.     They could be pro-Trump rallies or events where
20    they bring people who self-identify as right wing.
21                      They provide security by showing up and being
22        there, trying to act as a buffer, sometimes, between
23        counter-protestors and Antifa, but they also promote the
24        notion of beating back an opposing Antifa and those on the
25        left, through physical confrontation.



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 1                       We have seen several acts of physical violence
 2        with members of Proud Boys around the country, often in
 3         regard to Antifa.
 4         Q.     Now, you mentioned that Gavin Mcinnes was the founder
 5     of the Proud Boys.
 6                Is he still the leader today?
 7         A.     So from what I understand, Gavin Mcinnes has stepped
 8     down and he's referred to as founder, but no longer as the chair
 9    or chairman, or head.       What his specific role remains in the
10     Proud Boys is a little unclear, because he's still viewed as
11     representing them, but what his official capacity is, is unclear.
12         Q.     In the fall of 2018, October of 2018, was Gavin Mcinnes
13     still the founder and leader of the Proud Boys?
14         A.     Yes.
15         Q.     And in fall of 2018 what was --
16                       MR. GOLDBERG: Objection to leading.
17                       THE COURT: Please try to not to lead but I ' 11
18        overrule that objection.
19         Q•     What was Gavin Mc Innes ' position on violence within the
20     group in October of 2018?
21         A.     Gavin Mcinnes has used podcasts, his Gavin Mcinnes sho
22     on YouTube and elsewhere, his writing to promote and glorify the

23     concept of violence in opposition to his enemies.           So, his
24    position on violence has been one that --
25                       MR. GOLDBERG: I'll object to this.



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 1                      THE COURT: Overruled.
 2         A.     He embraces violence, and encourages membership to
 3     engage in violence, and really has made violence the core                one

 4     of the core tenets of the Proud Boys.
 5          Q.    And has he directed these statements about violence
 6     towards any specific groups?
 7         A.     So, Gavin Mcinnes has talked about, on his program,
 8     that if you are at an event, referring to his followers and
 9     somebody asks you your name, start choking them out.
10                      He talks about if you see the Antifa we need to
11        pm1ch them and slap them, and fight with them.           In fact,
12        again, this notion of violence is so much at the core of much
13        of what he has discussed over the years on his podcasts, and
14        writing that violence is actually built in sort of to the
15        Proud Boys idealogy if you will .
16         Q.     Now, are there specific tenets or brains within the
17     Proud Boys?
18         A.     Say that again.
19         Q.     Are there specific ranks within the Proud Boys?
2o         A.     So, you have the leadership.        You have members .      Then
21    you have probationary members who have to go through a process of
22    becoming full fledged members.
23         Q.     And are there what is known as the four different
24    degrees of being a Proud Boy?
25         A.     Well, in a sense there is an initiation process to



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 1     become a Proud Boy, and each one has a degree.
 2                        So the first degree is to pledge an oath of
 3         allegiance, if you will, to the Proud Boys, to say I am a
 4        proud western chauvinist, I will not apologize for creating
 5         the modern world.     I believe that's what it is.        I may be
 6        paraphrasing a little bit .       But you pledge an oath to the
 7         Proud Boys.
 8                        The second stage is to basically get beat up by
 9        your sort of other members, while you are reciting the names
10         of five breakfast cereals.       Sort of a hazing type of stage in
11        order to prove that you are willing to become a Proud Boy.
12                        There are other rules that go with this, like
13        abstain from masturbation except for one time a month.
14                        The third stage is to get a tattoo of the Proud
15        Boys .   And then the fourth stage has been to get in a
16        physical confrontation or get arrested for the cause.
17          Q.     Now, were those the different degrees in October of

18     2018?
19         A.      Yes.
2o          Q.     Did there come a time in November of 2018 where the
21     Proud Boys codified what the different degrees and levels of the
22     Proud Boys were?
23          A.     So, the Proud Boys, under new leadership, put out a
24     document that articulated what it takes to be --
25                        MR. HART: I'll object to what happened after this



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 1         event, in November of 2018.
 2                       THE COURT: I'll overrule that, if it's brief.

 3        We ' 11 say how things have changed.
 4         Q.     You can continue.
 5         A.     There was a document in the fall of 2 o18, in November,
 6     that identified what you need to do to become a member of the
 7     Proud Boys, or the bylaws, what they believe in, and in that, a
 8     change that was made, was that last stage that we refer to of,
 9    you know, getting into a physical confrontation on behalf of the
10     group or getting arrested, was removed, as a necessa:ry stage to
11    become a member.
12         Q•       I 'm showing you what has been marked as People ' s
13     Exhibit 2 for identification.
14                  (Handing)
15                       MR. GOWBERG: We have never been shown this.

16                       MR. STEINGIASS:     That's is not true.

17                       THE COURT: No discussion please.       We'll let you

18        object.
19                       MR. GOWBERG: I object, of course.

20                       I would like to examine it.

21                       THE COURT: We haven't had a question yet.

22                       (Pause in the proceedings)

23                       Miss Kleidman, is there another area you can

24        address while we wait?
25                       MS. KLEIDMAN:     No.   This is - - well, I can ask



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 1        one additional question before we get to that.
 2         Q.     Is there something that members of Proud Boys or some
 3    members of Proud Boys typically wear?
 4         A.     Some members of Proud Boys wear Fred Perry shirts.
 5    They are black or dark blue with a sort of gold brand name.           And

 6    so you are able to identify some by that clothing.
 7                      Again, it's really important, context is always

 8        key; just because somebody is wearing a Fred Perry shirt

 9        doesn't mean they are a Proud Boy, and if they are not,

10        doesn't mean they are not a Proud Boy.
11                        MR. GOWBERG: Do you have an extra copy?

12                        MS.   KLEIDMAN: They have been provided.

13                        MR. STEINGLASS : We 1 11 make a copy.

14                        THE COURT: Until you get a chance to look at it,

15        the jury won't see anything about it one way or the other, so

16        why don't you continue.
17                        MS.   KLEIDMAN: This is my last area.

18                        THE COURT: Let's show it to the witness.

19                        (Handing)
20                        We are not gonna talk about it .     We have to move

21        along to get it described by the witness.

22         Q.     Do you recognize that?

23         A.     I do.

24         Q.     What is that?
25         A.     This is the bylaws of the Proud Boys that was develope



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 1     on November 24th of 2018.
 2         Q.      Have you seen and researched those bylaws as part of
 3    your work at the Center on Extremism?
 4         A.      I have and my staff has looked at these bylaws previous
 5     to today.
 6                      MS. KLEIDMAN: I of fer them into evidence.
 7                      MR. GOLDBERG: Objection.
 8                      THE COURT: I'm not going to let the jury know
 9        about them now.
10                      Were you going to ask questions to follow up?
11                      MS . KLEIDMAN: No.
12                      THE COURT: Then I'll hold the application in
13        abeyance until after lunch.
14         Q.      In November of 2018, when those bylaws came out,
15    without referring to the bylaws, is that when the level four of
16    becoming a Proud Boy changed?
17                      MR. GOLDBERG: Asked and answered.

18                      THE COURT: overruled.

19         A.      The fourth level was changed, based on this document.

20                      MS. KLEIDMAN: No further questions.

21                      THE COURT: Which defense attorney would like to

22         cross-examine first, if either.
23                      MR. HART: I want to review the bylaws.

24                      THE COURT: We are not going to ask any questions

25         about the bylaws before lunch.



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 1                        Do you have anything else to talk about?

 2                        MR. GOLDBERG: I'll go.

 3        CROSS-EXAMINATION
 4        BY MR. GOLDBERG:
 5         Q.     So, you never testified in a Court of law before?

 6         A.     Correct.
 7         Q.     You only testified in Congress.

 8                        When was that?

 9         A.     2018.
10         Q.     And before that?
11         A.     Written testimony 2018 and 2015.

12         Q.     What committee was that?

13         A.     It was the - - which one?

14         Q.     2018?
15         A.     2018 was the Financial Services Committee, I believe.

16         Q.     And at that time were you concerned with the raising of
17    money by extremist groups?
18         A.     We are always concerned about the way extremist groups
19     operate, and what it takes to operate.
20         Q.     Have you ever gone out into the field to investigate

21     these protests or counter-protests?
22         A.     Yes.
23         Q.     Just tell me when?

24         A.     So, myself, correct?
25         Q•     Yourself.



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 1         A.     I think the last one I went to, because it was near
 2    where my office is located, was an anti-Muslim rally on 42nd
 3    Street, that featured all right-type figures, like Milo
 4    Yiannopoulos.
 5                        Some Proud Boys were there, and I spent time

 6        observing.
 7         Q.     was there any violence that day?
 8         A.     That day there was no violence.

 9         Q.     No violence.     Proud Boys were there?

10         A.     Yes.
11         Q.     Milo, he's a speaker?
12         A.     Yeah.
13         Q.     And he's also spoken at Berkley and other places?

14         A.     He has.
15         Q.     And matter of fact Antifa follows him around, is that

16    correct?
17         A.     Antifa tends to show up where Milo will be speaking.

18         Q.     Were you aware of what Antifa did at President Trump's

19    inauguration?
20                        MS. KLEIDMAN: Objection.

21                        THE COURT: Overruled.

22                        Are you aware?

23         A.     I have seen reports of what Antifa has done.            I cannot

24    confirm whether all the activities that were described were

25    actually Antifa.



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 1          Q.    Did you see reports that six police officers were
 2     injured at the inauguration by Antifa?
 3         A.     I saw reports of police officers being injured.           I

 4     don't know if it was Antifa.
 5         Q•     Did you make any - - you are an investigator.           Did you

 6     investigate?
 7         A.     No.
 8         Q.     It was in Washington, DC?
 9         A.     Right.
10          Q.    You have access to police records?
11         A.     No, not necessarily.       I mean public records, sure.

12          Q.    A police record is a public record?
13         A.     Some times.
14          Q.    Did you make any efforts to ascertain who injured those

15     six police officers?
16         A.     No.
17          Q.    What about the Antifa riots that occurred in Portland,

18     Oregon.
19                       Did you investigate that?

20          A.    Can you define investigate.

21          Q.     In other words reading about - - you are an

22     investigator, you train people.
23          A.    We investigated in Portland and in DC.
24          Q.    And in Seattle?
25          A.    Yes.



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 1         Q.       What happened - - what did Antifa do at those rallies?

 2         A.       Antifa, as I described before, when there are specific
 3    rallies, whether it's white supremacy, sometimes pro-Trump
 4    rallies, they will try to engage in physical violence in
 5    opposition to the events that are occurring.
 6         Q.       Does that physical violence include burning police

 7    cars?
 8         A.       I would have to --
 9         Q.       Are you having trouble with that?

10         A.       I'm not sure if a police car being burned at an event
11     is Antifa, or some other - - I don't recall a police car being
12    burned in the ex:arrples you gave.
13         Q.       You don't know?   There was no police car burned in

14    Portland?
15         A.       Well, there ' s been many events in Portland, so depends
16    which one .
17         Q.       The one on January 20, 2017?
18         A.       Okay.
19         Q.       Was there a police car burned there?

20         A.       I believe there was.
21         Q.       What about in Dallas; did you investigate the Antifa

22    attacks and riots in Dallas?
23         A.       Yes.
24         Q.       What happened there?

25         A.       I don't recall.



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 1         Q.     Well, did you bring any records with you today about

 2    or newspaper articles or anything that would disclose what you

 3    heard or read about, and saw about Antifa?

 4         A.     No.    I didn't bring any written material to read.

 5         Q.     Did Mr. Steinglass ask for any information you had on

 6    Antifa?
 7         A.     Yes, information we have is publically available on our

 8    website.
 9         Q•     Did you download it?

10         A.     No.
11         Q.     Did you give it to him?
12         A.     I shared that information with him.
13         Q.     Shared it with him in person or through documents?

14         A.     Via e-mail.
15         Q.     How many times have you met with Mr. Steinglass?
16         A.     In person, once.      We've talked three or four times.

17         Q.     On the phone?

18         A.     Yes.
19         Q.     And this is all within the past couple of weeks?

20         A.     Yes.
21         Q•     And he told you about this trial?

22         A.     Yes.
23         Q.     Incidentally, you train police officers in law

24    enforcement?

25         A.     Yes.



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 1          Q.      Did you train any of the members of the New York City

 2     Police Department?
 3          A.      Yes.
 4          Q.      When?
 5         A.       We do this quite frequently.
 6                  The last time there was a training that included the
 7     NYPD was in 2018, I think the first quarter of 2018, both NYPD
 8     and was the FBI as well .     We meet regular1 y with various law
 9     enforcement and share information with law enforcement.

10          Q.      Where is your office generally?

11          A.      It's in Midtown, East side.
12          Q.      Near the 19th Precinct?
13         A.       Perhaps, sure.
14          Q.      And you - - did you train any police officers before

15     the October 12th incident?
16         A.       In the NYPD, yeah.    We have done training before that

17     date, yes.     However, that training may not have been specif icall

18     about right wing extremism.
19          Q.      What is your training with police - - what does your
20     training with the New York City Police Department consist of?
21          A.      We have held training where we provide an overview of
22     extremist groups, their tactics, movements, what their beliefs
23     are, so they understand how to recognize them.
24          Q.      Do you provide anything in writing to the Police

25     Department?



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 1            A.      Anything in writing usually is downloaded of what we
 2    make available on our website.        However, there are times that we
 3     conmunicate in a non-training context, with law enforcement, by
 4    providing information that we think they need to know because we
 5     are concerned about an event that's happening or threat that we
 6     see.
 7            Q.      Did you see the videos in this case?
 8            A.      I have seen some videos.
 9            Q•      And how did you come to see them?
10            A.      'Twitter, YouTube, nightly news.
11            Q.      Did Mr. Steinglass play any for you?
12            A.      Of this, no.
13            Q.      Did you see any of the Metropolitan Republican Club?

14            A.      Sorry.
15            Q.      Did you see any of the Metropolitan Republican Club?

16                         THE COURT: You mean did he see the club on a

17           video?
18                         MR. GOLDBERG: Yeah, the club itself.

19            A.      Did I see the building in the video?     I   don't recall.

20            Q.      Did you see the symbol of Antifa on the building - - o

21     the Metropolitan Republican Club?
22            A.      So, in our investigations we know that Antifa, prior to

23     that event, put graffiti on that club, scrawled the word nazis o

24     it.
25            Q.      How long, prior to the event?



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 1         A.     It was either the day of, or the day before, but close
 2    proximity to the event.
 3         Q.     And you saw the word nazi on the club?
 4         A.     Yeah, I recall, yes.
 5         Q.     How is it - - how did you recall it, from a symbol or
 6    word, what do you recall seeing?
 7         A.     Was it a swastika, or actually spelled out?             I believe
 8     it was spelled out.
 9         Q.     NAZ     I?
10         A.     Correct.
11         Q.     Right on 122 East 83rd Street, is that correct?

12         A.     I don't know where it's located, but, yes, sounds

13     right.
14         Q.     Anything else?     Did you notice any broken windows aside

15     from seeing the nazi sign?
16         A.     Yeah, I believe there was broken windows.

17         Q.     Did you see a rnanif esto?
18         A.     Again, this is all not live, this is all -              I didn't

19    pay a visit.     This is all based on social media and video clips

20    and so it's hard to know with certainty, what you are looking at,

21    but I do recall what you were describing.
22         Q.     Well, I mean this is what you do, right, you train
23    people?
24                      MR. STEINGLASS: Objection.

25                      THE COURT: I'll sustain it.        It's an unclear



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 1         question.
 2          Q.     So you saw the broke windows.
 3                        Do you know how many there were?

 4         A.      No.
 5         Q.      Did you see a manifesto?
 6         A.      can you be more specific?
 7         Q.      Did you see an Antifa manifesto.
 8                 May I have it?
 9                 (Handing)
10                        THE COURT: I take it you mean in connection with

11         the events of October 12th?
12                        MR. GOWBERG:    Yes.
13                        MS. KLEIDMAN: I'll object.     This is not the

14        witness to testify to this.
15                        THE COURT: I know that.     I'll allow that question.

16                        Did you see a manifesto connected with October

17        12th?
18         A.      I don't know.      Sometimes people call a post on HN a

19    manifesto.       Sometimes people call an 80 page document a
20    manifesto.     Depends on what you are referring to, if it's an
21    actual manifesto.
22         Q.      I would like you to take a look at a document.
23                        THE COURT: This is Defense A for identification.

24                        (Handing)
25         Q.      Would you examine it?



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 1                  (Pause in the proceedings)
 2         A.       I read it.
 3         Q.       That exhibit
 4                      THE COURT: It's Defense A for identification.

 5                      MR. GOLDBERG: I would like to offer it into

 6        evidence.
 7                      MS.      KLEIDMAN: I'm going to object.

 8                      THE COURT: I will sustain that objection.

 9                      Have you ever seen that before?
10         A.       I can't say I have seen it in this form.
11                      THE COURT: I mean have you seen that, obviously

12        the original or copy, have you seen that piece of paper
13        before?
14         A.       I don' t think I have seen the piece of paper.

15         Q.     Do you know where that came from?

16         A.       It's possible - - I mean was this taped to the door?

17                      THE COURT: So you weren' t there.       You don I t know.

18                      This is the wrong witness to introduce this.

19         Q.       So you don't know much about that document that you are
20     looking at?
21         A.       I don't know, if it was - - where it was taped to the
22     door or if it was taped to the door.
23         Q.       Well, do you remember reading it over a computer or

24     otherwise?
25                       MS. KLEIDMAN: Objection.



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 1                        THE COURT: I'll allow that.
 2                        Do you remember reading it before?

 3         A.     Yes, but in perhaps a different context.

 4         Q.     Meaning?
 5         A.     Not taped on a door.
 6         Q.     But on a computer screen?
 7         A.     Yeah.     Usually, if I may, when there are claims of

 8    responsibility or messages sent around an act of harassment,

 9    vandalism, et cetera, those messages appear in different places.

10                        They can appear in a tweet .    They can appear in a

11        post on HN or a flier.       I do recall some of this language.     I

12        cannot tell you where I saw it exactly, but I definitely

13        didn't see it on the building.
14         Q.     Does Antifa issue warnings before they terrorize

15    people?
16         A.     Antifa issues warnings before they show up at events.

17         Q.     What are the warnings for?

18         A.     They want to intimidate and let people know maybe they
19     should join them, if they want to engage in the same activity.
2o         Q.     How does a person join an organization that has no - -
21     there is no leader, no way to join, how do you go about that?
22         A.     You join their activity.       You don't necessarily join
23     the group, but you engage in the activity that you engage in.
24    You join in - - in other words you show up and attack somebody
25    and become a member of Antifa.



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 1                       You will become a member, but you are part of

 2         their activity.
 3          Q.      Do you give a name or do you just show up and do

 4     damage?
 5         A.       Sometimes people give names.      Sometimes they remain

 6     anonymous.
 7          Q.      Is there a reason why there is no set organization for

 8    Antifa?
 9         A.       It's a more effective way of organizing, to have a

10     decentralized network.
11          Q.      Or is it a more effective way of avoiding the

12     consequences of what they do?
13         A.       It may be, if you don't have a structure.        Here's the

14     reality.     Most extremists are not part of any actual group.
15     Those are independent actors.       This is true for white supremacy,

16     Islarnist extremists.
17                       When I look at deadly attacks in this country,

18         they tend to be by people acting alone or motivated by

19         idealogy.
20          Q.      Those are individual persons most of the time, correct?

21          A.      Many times, yes.
22          Q.      But I'm not talking about that now.       I'm talking about

23    Antifa.     It's a group you said loosely knit.
24                       Isn't that to avoid being arrested or being

25         identified?



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 1         A.     No.    You can be arrested even if you are not an
 2    official member of the group, because of the activity you are
 3     engaging in.
 4         Q.     Did you see the videos in this case?
 5         A.     Yes, I have seen some.
 6         Q.     Did you see the Antifa individuals?
 7         A.     Yeah, I believe so.
 8         Q.     Were you able to get a good look at their faces?

 9                       MS. KLEIDMAN: Objection.

10                       THE COURT: I will sustain that objection.

11         Q.     Did you see their faces?
12                       THE COURT: I will sustain that objection.

13         Q.     Are Democrats far right?
14                       MS. KLEIDMAN: Objection.

15                       THE COURT: overruled.

16                       Are Democrats a far right group?

17         A.     No.
18         Q.     And they are on their -- the subject of the manifesto?

19                       THE COURT: That's not in evidence.

20         Q.     Do you know whether or not Antifa threatens Democrats?

21         A.     They usually do not.
22                       Antifa views themselves as against the right,

23        whether it's the far right or increasingly those who they

24        view as syn-pathetic with the far right.
25         Q.     So, what you are saying is that Democrats being



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 1    threatened would be unusual?
 2         A.     By Antifa?
 3         Q.     Yes.
 4         A.     It ' s unusual, yeah.
 5         Q•     So would you characterize that particular group,

 6    loosely knitted fellows and women, as unusual?
 7                       THE COURT: I didn't understand the question.

 8         Q.     Well, would the group that threatens Democrats be

 9    unusual in so far as Antifa?
10                       THE COURT: If there were a threat?

11         Q.     If there were a threat against Democrats, would you

12    consider the group making the threat to be unusual?

13                       THE COURT: Sorry.    Are youo asking, would you

14        consider it an unusual thing for a member of Antifa to do?

15                       MR. GOLDBERG: Yes.
16         A.     For Antifa to threaten left wing or Democrats, would be

17    unusual.
18         Q.     Do you know what Antifa means by the word attack

19    they use the word attack all the time, is that correct?

20         A.     Yes.
21         Q.     In warnings?
22         A.     Yes.
23         Q.     What do they mean by attack?        What does that mean to
24    you as an investigator?
25         A.     Well, attack generally means, in the case of looking at



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 1     their activity, means throwing objects at those who they oppose,
 2     trying to confront them physically by beating them up if they
 3     can, and so attack means physical, violent confrontation.
 4            Q.   Against individuals?
 5            A.   Against individuals, and sometimes property, but it's

 6    mostly individuals.
 7                        We shouldn't confuse sort of anarchists who are

 8        more established in sort of property destruction than Antifa,

 9        which is, again, is looking to stop the rise of fascism and

10        nazism.
11            Q.   But you would -- in this case you were asked about

12    Antifa, is that correct, not anarchists?
13            A.    Correct.
14            Q.   Now, have you ever met a member of Antifa?

15            A.    It's possible, not officially.
16            Q.    I mean a member of Antifa doesn't stand out in your

17     memory?
18            A.   No.
19            Q.    \Nb.at about a Proud Boy?
20            A.   Not officially.
21            Q.    Have you ever talked to a member of Antifa or Proud

22     Boy?
23            A.    I don't think so.    Certainly with no intention.

24            Q.    You talked about tenets early on, Proud Boy tenets.

25                        \Nb.at does tenet mean?



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 1         A.     It means - -     we talked about stages of becoming a
 2    member.
 3         Q.     I'm talking about a tenet?
 4         A.     Tenet is basically a belief system, guiding principles

 5     that help people develop their ideology, what they want to be.
 6                       THE COURT: I take it we are talking TENET?

 7         A.     Correct.
 8         Q.     Is a tenet of the Proud Boys minimal government?

 9         A.     Yes.
10         Q.     Is a tenet of the Proud Boys maximum freedom?

11         A.     Yes.
12         Q.     Anything wrong with those two tenets?
13                       MS. KLEIDMAN: Objection.
14                       THE COURT:   Sustained.

15         Q.     Is a tenet of the Proud Boy anti-political correctness?

16         A.     Yes.
17         Q.     Antidrug war?
18         A.     Yes.
19         Q.     Closed borders?
20         A.     Generally, yes.
21         Q.     Anti-racial guilt?
22         A.     I 'm not sure what that means.       I have seen that
23    written.
24         Q.     Antiracism?
25         A.     That I would say no.



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 1         Q.      There was an exhibit we marked for identification.

 2                         Did you examine that exhibit in total?

 3         A.      May I state that as --
 4         Q.      I'm just asking you a question.
 5                         Did you examine that exhibit?
 6         A.      Yeah.
 7         Q.      You still don't know anything about antiracism or

 8    against racism?
 9                         THE COURT: Sustained.

10         Q.      Is it your statement that Proud Boys are not
11    antiracism?
12         A.      That the Proud Boys are not antiracists, yes.          I do not

13     think the Proud Boys are antiracist.
14         Q.      Free speech, is that another tenet?
15         A.      Yes.
16         Q.      Gun rights?

17         A.      Yes.
18         Q.      Glorifying the anti-entrepreneur, is that another of
19     their tenets?
20         A.      I mean, perhaps.     Tenets to me, just so we are clear,
21     is more sort of a broader guiding principle.          Not every belief
22     that one might put on a piece of paper.         So I would say maybe to
23     that one.
24         Q.      What about generating the housewife?

25         A.      Yes.



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 1          Q.    Reinstating the spirit of western chauvinism?

 2         A.     That's what they say.
 3          Q.    You know - - is that a central tenet?

 4         A.     Yes.
 5         Q.     Now, aside from what I asked you about on January 20th,

 6     inauguration day, is there a member of - - block of Antifa calle

 7     the black block?
 8         A.     Black block is more of a tactic .

 9         Q.     What does it mean?
10         A.     It means when Antifa, who I described are wearing
11    black, generally sort of move together as a unit, very closely
12     combined, sort of a black block tactic.
13         Q.     Did Antifa, using black block tactics, cause $100,000

14     in damage to the university of california at Berkley on

15     February 1st, 2017?
16         A.     Members of Antifa were there.        Who engaged in

17     destruction, I don't know, how much was at the hands of Antifa,

18     or for a range of other people who were at those protests.

19         Q.     On March 4th there was another incident at Berkley.

20                       On that day you recall    reading that Antifa people

21        used, as Mr. Steinglass calls it, baseball bats?

22         A.     Antifa has used baseball bats.

23         Q.     What do they do with those bats, hit balls?

24         A.     Probably not.

25         Q.     Not at those events?



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 1         A.     Well, they use it as a weapon.
 2         Q.     To what; damage physical property, or hit people?

 3         A.     It can be both.
 4         Q.     Did you see any weapons in the video in this case?

 5                       THE COURT: I'll sustain that.
 6         Q.     Do you recall    a police officer in Berkley being stabbe
 7    with a knife on March 4, 2017?
 8         A.     I recall reports of a stabbing, yes .
 9         Q.     Of a police officer?      I believe his name,
10     coincidentally, is Byron White, does that ring a bell?
11         A.     No.
12         Q•     Have there been instances when people get to a protest,
13     they are going to conduct, and the target doesn't show up, so
14     instead of protesting the target, or the conservative, or free
15     speech advocate, they attack the press; did that happen?
16         A.     I mean, ever?     I don't know.
17         Q.     Well, on May 1st in Portland, Oregon, did that happen?
18         A.     I was not there.      I do not recall the details of that
19    and what led to who was there and who was not .
2O         Q.     Do you recall    the event in Olympia, Washington, where a
21    mob threw rocks at individuals and had sling shots?
22         A.     Yes, that sounds pretty conman, yes.
23         Q.     So, it ' s conmon for them to throw rocks and carry slin
24     shots, is that right?
25         A.     They use all available means as weapons in their events



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 1         in their counter-protestors.
 2                      MR. GOLDBERG: I have no further questions.

 3                      THE COURT: Ladies and gentlemen, before

 4                      MR. GOLDBERG: I reserve the right to be able to --

 5                      THE COURT: You will have a right to question about

 6        that, if you want to.
 7                      Before Mr. Hart's cross-examination, we'll take

 8        our lunch break.
 9                      I'll ask you be back at 2:15, in the jury room.

10                      Please don't talk about the case.

11                       (Jury exits)

12                      Anything else to talk about at the moment?

13                      Okay, have a good lunch.

14                       (Witness exits . )

15                       (Whereupon, a lunch recess was taken, after which

16        the following proceedings were had:)

17                       (Continued on next page)

18

19

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 1                     THE CLERK:    Case on trial continues.

 2                     THE COURT:    Before we call the witness in, I

 3         thought we might resolve evidentiary question about

 4         People's Exhibit 2.      Is the defense ready to take a

 5         position.

 6                     MR. GOLDBERG:     I thought we were making a copy of

 7         it, but it was never made.

 8                     THE COURT:    You haven't read it yet?

 9                     MR. GOLDBERG:     No, I thought we had copies.

10                     MR. STEINGLASS:     Let's just be very clear about

11         this, for the record, both counsels were given copies, both

12         of the entire Bylaws on their hard drives over a week ago.

13         So the implication in front of the jury that somehow they

14         haven't yet seen it is offensive, incorrect and should not

15         be said.

16                     MR. HART:    Judge, no one is trying to

17                     THE COURT:    Could you please read the things now,

18         quickly.

19                     MR. GOLDBERG:     Where is it?

20                     MR. STEINGLASS:     On your hard drive.

21                     MR. GOLDBERG:     I don't have my hard drive with

22        me.

23                     MR. HART:    All right, Judge, we've read it.

24                     MR. GOLDBERG:     We both read it.

25                     THE COURT:    Do the defendants have an objection?

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 1                    MR. GOLDBERG:     Absolutely.

 2                    THE COURT:     What's the objection?

 3                    MR. GOLDBERG:      It's irrelevant.

 4                    THE COURT:     My guess is that this details what

 5         the Proud Boys are all about, am I right?

 6                    MR. STEINGLASS:      That's right.

 7                    THE COURT:     I haven't seen it.     I wonder if one

 8         of you can explain for the record what the exhibit holds.

 9         Obviously, you can disagree with the characterization if

10         you disagree.

11                    MR. STEINGLASS:      It has a lot of the governing

12         structure of the Proud Boys, how they are established, how

13         it's there to be organized.       But most significantly, it

14         lists the degrees of Proud Boy.

15                    THE COURT:     I wonder then if I could take a look

16         at it.   I will admit the exhibit.      I think it's relevant in

17         the same way a lot of the testimony about both the Proud

18         Boys and Antifa has been relevant.         This corroborates

19         essentially the testimony about those levels of discipline,

20         of membership which are important, as the People see it

21         because it provides a motive for some of the individuals to

22         be involved here.

23               I think we're ready for the witness.

24                    MR. GOLDBERG:      Once again, my objection, it's

25         more than background and motive.       It's totally prejudicial.

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 1                    THE COURT:     Understood.

 2                    COURT OFFICER:     Witness entering.

 3                    THE COURT:     We're ready for the jury.

 4                    COURT OFFICER:      Jury entering.

 5                    THE CLERK:     Case on trial continues.     All parties

 6         are present.

 7                    THE COURT:     Mr. Hart, you may cross examine.

 8                    MR. HART:    Thank you, your Honor.

 9   CROSS-EXAMINATION

10   BY MR. HART:

11         Q    Good afternoon, Mr. Segal.

12         A    Hi.

13         Q    Mr. Segal, as I understood from your testimony,

14   Antifa's mode of operation, their modus operandi, they show up

15   at events to engage, correct?

16         A     Correct.

17         Q    And by engage, I think your testimony was pretty

18   clear, you mean to engage in a physical confrontation, correct?

19         A     Yes, they want to fight with who they perceive to be

20   Nazis and fascists.

21         Q    When they fight, I heard you testify that sometimes

22   they use, they throw projectiles, correct?

23         A     Correct.

24         Q    And some of those projectiles might be bottles filled

25   with urine?
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 1         A     Yes.

 2         Q     Feces?

 3         A     Sometimes bags filled with feces or urine, yes.

 4         Q    Acid and other types of chemicals?

 5         A     I'm not so sure about acid.

 6         Q     Is it safe to say that they employee this particular

 7   tactic at most of the events that they show up to disrupt?

 8                      THE COURT:   By this particular tactic, I'll ask

 9         that you be specific.

10         Q    When I say this particular tactic, I'm talking about

11   throwing projectiles?

12         A     They frequently do that at events, yes.

13         Q    And I believe on cross examination by Mr. Goldberg,

14   when he talked about the Portland, Oregon event -- you're aware

15   of the Portland, Oregon event, correct?

16         A     There have been many events in Portland, Oregon.

17         Q    Are you aware of the event where Andy Ngo was doused

18   with some type of milk-like chemical or milkshake type of thing?

19         A    Milkshake, yes.

20         Q     That was the Antifa, correct?

21         A     Yes.

22         Q    And those elements have Antifa, without any

23   provocation from Mr. Ngo, they punched and kicked him in

24   addition to dousing him with that milk shake type of substance,

25   correct?
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 1        A        I can't speak to what precipitated that.      I was not

 2   there.     I only know what I read.

 3         Q       You're aware that Andy Ngo is a journalist?

 4        A        Yes.

 5         Q       And you are aware that Antifa, as part of their MO,

 6   their modus operandi, they often times attack journalists for

 7   filming their events?

 8        A        Journalists have been attacked by Antifa, yes.

 9         Q       And journalists have been violently attacked by

10   Antifa, correct?

11         A       Yes.

12         Q       You are aware that in many of those instances, the

13   journalists did not approach Antifa in any type of aggressive

14   manner, correct?        I'm talking about as an expert from which

15   you've read over the internet and your testimony before

16   congress.      None of those journalists ever attacked Antifa.

17   They're just filming what's going on, correct?

18         A       So this is where it gets a little complicated, because

19   there are times where journalists have been attacked, appears to

20   be unprovoked by Antifa.          There are other times where people who

21   are videotaping an event, documenting it, they may not actually

22   be journalists, not part of some journalist association, maybe

23   an on-line blogger, et cetera.

24                 So it sort of depends how we define journalists.         But

25   sometimes Antifa has engaged in physical violence against those

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 1   who are recording them in some way.
 2         Q    And as I understood your testimony, Antifa, they're

 3   trying to prevent the rise of fascism in the United States,

 4   correct?
 5        A     Yes, they view themselves as the frontline in the

 6   battle against Nazis and fascists, and they do that through

 7   physical violence.
 8         Q    So they, at many of their rallies, they show up not

 9   only chanting that they're against Anti-Fascists, but they

10   proclaim, in many of these events, that they're against white

11   supremacy, correct?

12                     THE COURT:     You said against Anti-Fascists.       Is

13         that what you meant to stay?

14        Q     Well, two-fold, one, that they're against

15   Anti-Fascists, correct?

16                     THE COURT:     Are they against Anti-Fascists?

17                     THE WITNESS:     Antifa would not be against

18         themselves.

19        Q     Antifa is against fascism?

20        A     Correct.

21        Q     And the rise of fascism in the United States, correct,

22   or the world, for that matter?

23        A     Yes.

24         Q    By the way, is Antifa limited to the United States or

25   are there elements of Antifa in other parts of the world?

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 1         A    Those who identify as Anti-Fascists operate in

 2   different countries around the world.

 3         Q    When Antifa often times shows up at these events, they

 4   may have signs and banners that they're against white supremacy,

 5   correct?

 6         A    Correct.

 7         Q    And they also had signs and banners that Black Lives

 8   Matter, correct?      You haven't seen that as part --

 9         A     I have seen Black Lives Matter signs at

10   demonstrations, at counter demonstrations, because there are

11   various different groups that go to these counter

12   determinations.     Knowing exactly who is who is not always easy.

13   So I can't say for certain that Antifa, holding signs, it's not

14   really there MO to hold signs.        It's other protestors that tend

15   to come and hold signs.

16         Q    They also promote that they're against anti-attacks

17   against Muslims and Jews, correct, Antifa?

18         A    Yes, Antifa views themselves as being in opposition to

19   Nazis who hate Muslims, Jews, African Americans, minorities in

20   general.

21         Q    Yet, when they go to these events, wherever these

22   events are in the United States, their sole purpose of attending

23   these events is to physically disrupt these events, I want to be

24   clear on that, correct?

25         A     So, their tactic is to physically confront those that

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 1   they oppose.     That may not be the case in every event.        They may

 2   not have the opportunity to do that, but the underlying ideology

 3   of this group is to make it so that they have a physical

 4   confrontation.     Sometimes they may show up and not have that

 5   option, or may not decide to do that.

 6              So I can't say every event that Antifa folks have

 7   attended has resulted in violence.           But I can say, that's their

 8   ideology, that's what they believe in, that's how they believe

 9   they will fight back against those they oppose.

10         Q    Would it not be correct to say that the Proud Boys, as

11   a group, they never go out and actively look for Antifa events,

12   as far as your experience?

13         A    Antifa events tend to be events in opposition to

14   events that are already occurring.           Antifa tend to be counter

15   demonstrations.

16         Q     So they're like birds of pray.         They seek out Proud

17   Boys and other groups that they think are promoting fascism,

18   racism, bigotry, etc.      They seek out these groups to disrupt

19   them physically by any means necessary, correct?

20         A     To disrupt them physically, yes.

21         Q    Now, you said you've trained the FBI, members of the

22   FBI, correct?

23         A     Correct.

24         Q     You've also trained members of the NYPD?

25         A     Correct.
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 1         Q    And isn't it true that the NYPD does not describe the

 2   Proud Boys as a terroristic organization, correct?

 3         A     I'm not sure how the NYPD would describe it, but

 4   generally, police departments don't designate groups or

 5   movements that they deal with in that fashion.

 6         Q    You have no idea how the NYPD views the Proud Boys,

 7   correct?

 8         A    Not in an official way, no.

 9         Q    Wouldn't it be safe to say, and correct to say, that

10   the Proud Boys, they're not a white supremacist group, correct?

11         A     I do not believe they are a white supremacist group.

12         Q    You're aware that the Proud Boys have blacks in their

13   groups, Asians, Indians, gays, et cetera?

14         A     I'm aware.

15         Q    Are you aware that the present president, for want of

16   a better word, is and Afro-American Cuban person in Florida, and

17   he's currently in charge of the Proud Boys, an Afro-Cuban, are

18   you aware of that?

19         A     Enrique Tarrio, yes.

20         Q    He's black and Hispanic, correct?

21         A     I understood him to be Cuban, yes.

22         Q     If I were to tell you that John Kinsman is married to

23   a black woman, that wouldn't surprise you, would it?

24         A     I guess not, maybe not.

25         Q     Because many members of the Proud Boys, they don't

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 1   promote -- withdrawn.      Black block.      So this is a technique that

 2   the Proud Boys employee when they first -- let's just go back.

 3   What is black block?

 4         A    So a black block is, sometimes Antifa or anarchists

 5   have occurred to -- it's really a tactic where Antifa or

 6   anarchists gather together closely as they're moving forward or

 7   engaging in a protest or counterprotest.

 8         Q    And often times, correct me if I'm wrong, when the

 9   Antifa gather together, they wear masks?

10         A    Yes.

11         Q    The purpose of wearing these masks is to conceal their

12   identities, correct?

13         A    Correct.

14         Q    To make it hard for law enforcement to track who they

15   are so that if and when they commit their crimes, they tend to

16   get away with those crimes?

17         A     It's to conceal from law enforcement, but also to

18   conceal from those that are in opposition to Antifa, so that

19   they don't get harassed in their homes, et cetera.

20         Q    Based on your experience, you have seen, from reading,

21   from your investigation, from your written testimony, before

22   congress, where the Antifa who shows up with these black masks

23   to hide their identity, often times they provoke violence,

24   correct?

25         A    Yes.
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 1         Q     And they start these confrontations, correct?

 2         A     Yes.

 3         Q     And those confrontations sometimes results in the

 4   Antifa throwing bricks, or using bats against civilians and the

 5   police, correct?

 6        A      Correct.    There are hundreds of events and counter

 7   events counterprotests that have occurred.         So, when I respond

 8   frequently this is true.        I can't speak to every single one.

 9   Since you're not talking about a specific event, I just want to

10   be clear that we're talking about generally this is what we've

11   seen around the country over a period of years, yes.

12         Q     And you had testified that you saw, from your reading

13   of articles, and from reading this event, that the Antifa, they

14   put their sign on the Metropolitan, the doors of the

15   Metropolitan Republic Club, correct?

16         A     I remember there was graffiti that indicated that they

17   were calling it like Nazis.       Their own, you mean logo?

18         Q     Their logo.

19        A      Antifa logo, I don't recall if that was drawn on the

20   building.

21         Q     And before these events, many times, they will engage

22   in criminal mischief to send a message to whoever is at these

23   events, that violence can surely follow, correct?

24                      THE COURT:   By the way, by criminal mischief, do

25         you mean property damage?
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 1                        MR. HART:    Property damage, yes.

 2        A        It's not standard.      Usually they're showing up to an

 3   event the day of the event.          Because these are usually in public

 4   spaces, and there is no specific target, if you will.

 5         Q       You are aware that with respect to this event, they

 6   made calls to the Republican Club to try to cancel the --

 7                        MR. GOLDBERG:    Objection.

 8                        THE COURT:     In the same sense that he's been

 9         testifying as an expert about what he's heard, I'll allow

10         him to answer that.

11                 Are you aware of any phone calls to the Republican

12         Club?

13                        THE WITNESS:     I don't recall that specifically.

14         Q       Are you aware -- let me give you a hypothetical, since

15   you're an expert.        Assume that the Antifa threw bricks through a

16   window, and this is just a hypothetical, and assume that that

17   happened, wouldn't the purpose of that be to cause fear for

18   whoever would attend the event?

19         A       Yes.

20         Q       And assume also that the Antifa individuals, whoever

21   they may be, they show up at these events in black masks.              By

22   the way, I just want to be clear on this, when they show up in

23   black masks, those who choose to put on black masks, they also

24   generally show up in black clothing as well?

25         A       Generally, yes.
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 1         Q     That's pretty frightening, isn't it, to the public?

 2                    MR. GOLDBERG:     Objection.

 3                    THE COURT:     I'll sustain that.

 4         Q    That's part of their MO, to show up in black masks and

 5   black clothing, the Antifa individuals that choose to show up,

 6   correct?

 7         A    Correct.

 8         Q    Generally, for example, if I'm not mistaken, in

 9   Portland, Oregon or Seattle rather, didn't 50 Antifa show up

10   wearing masks at that event, do you recall that?

11         A     Yes, it's not uncommon for there to be, especially in

12   the Pacific Northwest a large amount of Anti-Fascist, that

13   number between 50 to 100.

14         Q     In fact, in New York, they show at some of these

15   events wearing black masks and black clothing, correct?

16         A     Correct.

17         Q    Now, you have never heard of the Proud Boys promoting

18   anti-government violence, have you?

19         A     Say that again.

20         Q     You have never heard of the Proud Boys promoting

21   violence against the government of the United States of America?

22         A     Generally, no.

23         Q     In fact, generally individuals that promote violence

24   are these extremists, for example, like the Unabomber, correct?

25   Let me rephrase that question.        I'll rephrase that.    That wasn't

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 1   a good question.

 2              When we talk about right wing extremism, the Proud

 3   Boys are not part of a group that promotes violence against the

 4   government, correct?      I want to be clear on that.

 5        A     The Proud Boys may not have a primary ideology of

 6   promoting violence against the government.           That does not speak

 7   to whether they are considered right wing, per se.

 8         Q    That wasn't my question.          The question was

 9         A    You said with respect to right wing, I just want to

10   clarify.

11         Q     I just want to be clear, the Proud Boys don't promote

12   violence against the government to destroy government property

13   and violence against the government, correct?

14        A      Proud Boys are not trying to change this government.

15         Q    Antifa is, correct?

16         A     Elements within Antifa, some anarchist elements who

17   may have sort of an anti-capitalists belief have more concerns

18   about government.     But not all Antifa subscribe necessarily to

19   that strain, if you will, of ideology.

20         Q    Now, you said that Antifa, they intentionally operate

21   in a decentralized manner so that to prosecute them is very

22   difficult, correct?

23         A     They operate in a decentralized manner for multiple

24   reasons.    The result may be that prosecution may be difficult.

25         Q     I want to be clear, what are those multiple reasons,

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 1   from your view as an expert, why the Antifa operate at a -- by

 2   the way, I just want to be clear, we're talking not just the

 3   United States, but worldwide -- they don't just operate

 4   decentralized in the United States, they also operate

 5   decentralized the world over?

 6         A    That's sort of what movements do.        When you don't have

 7   like a group with membership dues and requirements, it enables

 8   people to go in and out of those groups with much more ease.

 9              So as a result, in some ways anybody can decide to

10   join the Antifa during a counterprotest by engaging in the

11   activities they engage in.       It may be wearing the same clothes

12   to demonstrate, you know, some sympathy with that subculture.

13   That does make it more difficult to potentially take down an

14   entire grouping of them, because they may not even know each

15   other.

16               It's also a way for them to protect themselves, where

17   they don't -- you know, traditional extremist movements like to

18   have leadership, and charismatic leaders, or people that sort of

19   give orders.    This is the reverse of that.       They sort of askew

20   not having any individual lead them, but it be more of a

21   collective.

22         Q     Can you help me to understand how does decentralized

23   groups, they just happen to always show up wherever it is in the

24   United States with several followers, at least 10 or 15, there

25   is no one to organize, but yet there are multiple Antifa groups

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 1   that show up?       Isn't there someone in these groups, Antifa,

 2   directing them?

 3           A      Yes, there are certainly people who play a pivotal

 4   role.       A lot of the organizing happens on-line.    Anybody who is

 5   familiar with how to organize an event on-line, you may have

 6   someone who sets up a page, or there might be, you know,

 7   encrypted chat where people are able to communicate, then plans

 8   are sort of organized that way.

 9                  That's different than having, you know, leadership

10   that is publicly directing activities.         But it's not totally

11   disorganized.       But in terms of membership and how people join,

12   it's much more loosely affiliated than other group structures

13   that I think we're mostly familiar with.

14           Q      You're aware that these groups are funded, for

15   example, but Antifa is funded, correct?        Who funds Antifa?

16           A      Well, in part, there is a lot of self-funding.        It

17   doesn't really cost much money to get a black mask and get a bus

18   ticket.

19           Q      However, you were asked by the People, under cross

20   examination, if you had ever read any of the documents that were

21   left at the Metropolitan Republican Club.         Who types up -- I'm

22   asking, from your experience, who would type up such a document?

23   Wouldn't there be some organized individual in the Antifa that

24   says, hey, there is going to be an event on October 12, 2018.

25   We're going to disrupt it.         We're going to type up some pretty

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 1   threatening material and we're going to send it.          Isn't there

 2   somebody, some type of head, that would be engaged in that

 3   activity?

 4        A      Clearly somebody wrote that.      Whether the head or not,

 5   it's not -- you don't need to be the head of an organization to

 6   type up a letter like that.       It's possible that the others

 7   didn't know.       At this point I would be speculating, because I do

 8   not know who wrote that letter.

 9         Q     Now, you were aware that the Proud Boys was founded by

10   an individual named Gavin Mcinnes?

11        A      Yes.

12         Q     You know he's said some pretty outrageous things just

13   for the shock value, correct?

14         A     He says outrageous things.

15         Q     You're aware that he's a comedian?

16         A     I understand he's a self-described comedian, yes.

17         Q     For example, the events of that night, the people

18   claim that he was giving an event where there was a reenactment

19   of an assassination of a Japanese nationalist, or Japanese

20   individual?

21         A     I'm aware of that.

22         Q     And he had a plastic samurai, are you aware of that?

23         A     Yes.

24         Q     He entered into the building with a plastic samurai?

25         A     Yes.
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 1         Q    And when he exited the building he had a plastic

 2   samurai?

 3         A     Yes.

 4         Q     So you're aware that he sometimes makes satirical

 5   statements about politics and things like that?

 6         A     I wouldn't categorize his statements as satirical.             It

 7   may be to him, it may be to his supporters.         But it's not

 8   necessarily to those who are not his supporters.

 9                      MR. HART:    While I'm on that topic, Judge, the

10         exhibit of the bylaws.

11                      THE COURT:    Exhibit 2.

12         Q     Now, you are aware that in the Bylaws, I'm going to

13   refer to, comes under membership, Section 1, eligibility and

14   nondiscrimination.      Membership in the fraternity shall be

15   limited to persons who were born male, who currently identify as

16   male, and who have been initiated through the second degree of

17   the initiation in accordance with these Bylaws.          You've reviewed

18   the Bylaws?

19         A     I have not memorized it, but that sounds accurate.

20         Q     And you're aware that the bylaw says that no person

21   eligible for membership in the fraternity shall be discriminated

22   against, or denied membership in the fraternity on the basis of

23   race, color, creed, national origin, veteran status, disability,

24   religion, marital status, or sexual orientation.          That's part of

25   their bylaws, right?
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 1          A    Correct.

 2          Q    That's one of the reasons why you certainly wouldn't

 3   label the Proud Boys as a white supremacist group, correct?

 4          A    I don't put that much stock in some of the bylaws, but

 5   that and other reasons why I would not label them a white

 6   supremacist group.

 7          Q    You wouldn't label them and alt right group, would

 8   you?

 9          A    No, Alt lite, maybe.

10          Q    L-I-G-H-T?

11          A    Or L-I-T-E, sure.

12          Q    You're aware that it states that a person who believes

13   in the inherent supremacy of any race over another, or who is a

14   member of any organization promoting the supremacy of any one

15   race over another, may not become or remain a member of this

16   fraternity?     That's a pretty bold statement by the Proud Boys,

17   that they don't promote racism, correct?

18          A    I understand that that's written in that document,

19   yes.

20          Q    You don't believe that is what I'm hearing, correct,

21   as an expert having read this?         Let me just finish the

22   statement, although you know there are Indians, Asians, blacks,

23   the current founder, the current president is an Afro-Hispanic

24   person, members of the Proud Boys are married.          In fact, isn't

25   Gavin Mcinnes married to an Indian?
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 1        A      I've read that, yes.

 2        Q      So despite all that, you don't believe that they're

 3   against racism, correct?

 4        A      No, I do not think they're white supremacists, to

 5   answer your question.      Do I think they have engaged in

 6   misogynistic, antisemitic, antimuslim, and racist statements

 7   through it's membership, I do.

 8        Q      To be fair, that might be some members, but that

 9   doesn't mean members of the New York City club, for example,

10   Maxwell Hare or John Kinsman, have engaged in that type of

11   activity, correct?

12        A      Certainly not all members are engaging in the same

13   activity.

14        Q      So there are members that are against racism and white

15   supremacy, correct?

16        A      Yes.

17        Q      It's kind of hard for a black person to be promoting,

18   if they're a member of the Proud Boys as a black person, it's

19   hard for them to believe in white supremacy, correct?

20        A      Believe it or not, there have been African American

21   white supremacists, but yes, in general, you're correct.

22        Q      Was that a movie that I may have missed?

23               In Section 2 of the bylaws, it talks about the

24   brotherhood for life.      Now let me just go back for a minute,

25   with respect to the first level of initiation, that first level

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 1   simply, you're going to give a verbal -- there are four levels,

 2   correct, according to your testimony?

 3           A      Right.

 4           Q     And the first level, you're going to give a verbal

 5   pledge that you support Western Chauvinism, correct?

 6           A     Right.

 7           Q     Now, Western Chauvinism doesn't mean chauvinism as a

 8   male against a woman.         Western Chauvinism means you're very

 9   proud and you're very patriotic that you are a member of the

10   West.       You're not a male chauvinists pig.        You're proud that

11   you're supporting Western values, correct?

12           A     Western Chauvinism, the terms mean you believe in the

13   superiority of the West over others.

14           Q      Is that a bad thing, by the way?

15                       MS. KLEIDMAN:     Objection.

16                       MR. HART:     Just a joke.     Withdrawn.

17           Q      Isn't it a fact that if you get through Level 1 in

18   this group, you're a Proud Boy?          You do not have to go through

19   Level 2, Level 3, or Level 4, correct?             Level 1, you're a Proud

20   Boy?

21           A      That seems correct, although, again, there is

22   different sort of Proud Boy chapters.            They probably have

23   different rules and regulations that they make to fit those

24   people in their local area.          But that sounds generally right.

25           Q      Wasn't this organization founded on a joke?        Wasn't

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                         CROSS-MR. HART-SEGAL


 1   the this organization founded upon a joke from Aladdin?              Proud

 2   Boys, business owning, be proud of your boy?

 3         A     If you mean the name?

 4         Q    Right.

 5         A    From Aladdin, yes.

 6         Q    And Level 2, isn't that -- there is no real violence

 7   in Level 2.    Level 2, isn't that where they have to get together

 8   and they have to name five breakfast cereals and kind of like

 9   punch each other, and they laugh, but no one is physically hurt,

10   correct?

11         A     I don't know if they laugh.      I don't know if someone

12   is not physically hurt when they're getting punched.           I know

13   that that happens as they are reciting five breakfast cereals,

14   according to their bylaws and video testimony that they've

15   shown.

16         Q    And you've never heard of anyone being prosecuted for

17   being hurt through Level 2 of initiation, for light punches and

18   saying five breakfast cereals, things like that, correct?

19         A     It's a college, not a cereal, but yes, I understand.

20         Q    Level 3, what is Level 3?

21         A     So Level 3 is where they have to get a tattoo that

22   says Proud Boys on it, if I recall.

23         Q    Again, that's not a requirement.        If you choose to get

24   the tattoo, so be it, correct?

25         A     Sure.
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                         CROSS-MR. HART-SEGAL


 1         Q      Level 4?

 2         A      Level 4 has been to engage in violence on behalf of

 3   the cause.     As we discussed earlier, that was the sort of common

 4   understanding of Level 4.        That changed in November of last year

 5   when these bylaws were written.        It doesn't seem to include that

 6   language anymore.

 7         Q      Isn't it a fact that even before the bylaws were

 8   written, Gavin Mcinnes put out there that he's not encouraging

 9   anyone to go out and attack someone?         His comments were, if

10   you're attacked, then you should defend yourself.          In fact, a

11   common statement was, they don't start fights, but they end the

12   fights.   You've heard that, correct?

13         A      Yes, I disagree with that.

14                     MS. KLEIDMAN:     Objection to the compound

15         question.     There are like six questions in one.

16                     THE COURT:     We had one answer.   So we'll let it

17         go at that.

18         Q      And you are aware that Gavin Mcinnes, before

19   October 12, 2018, has always encouraged the Proud Boys not to

20   initiate violence?      Haven't you read that on-line?

21         A      I have heard him.     I don't believe that's an accurate

22   characterization of Gavin Mcinnes' position on violence.

23         Q      Aren't you aware that individuals, for example, who

24   showed up at Charlotte, if they were a Proud Boy and found to be

25   at these events, they were expelled from the Proud Boys?

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                        CROSS-MR. HART-SEGAL


 1         A    You said show up in Charlotte.           Do you mean

 2   Charlottesville?

 3         Q     Charlottesville, not Charlotte, North Carolina, yes.

 4   Any Proud Boy member who showed up there, are you aware they

 5   were expelled from the Proud Boys?

 6         A    So I know that the current head of the Proud Boys was

 7   in Charlottesville.     So not every Proud Boy, current Proud Boy

 8   who was in Charlottesville has been expelled.

 9         Q    You are aware that the Proud Boys expel anyone that

10   they deem to be, anyone who they view as engaging in racist

11   conduct, are you aware of that, yes or no?

12         A     I have heard Gavin Mcinnes, and perhaps some bylaws

13   suggest that that's what they do.            I don't think that that's

14   always the case.

15         Q    You don't believe it, but you have heard that, and you

16   are aware, correct?

17         A    Yes.

18                     THE COURT:    By aware, you mean he's heard it, and

19         he's aware it's been said.

20                     MR. HART:    Correct.

21         A    Yes, I have heard that.

22         Q    You are aware that the Antifa has been labeled a

23   terrorist group in New Jersey?

24         A     No.   By whom in New Jersey?

25         Q     By the law enforcement of New Jersey.          I'm not sure

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 1   which law enforcement?

 2        A     No.

 3         Q    You're not aware of that?

 4         A    No.

 5         Q    Are you aware of any organization that has labeled

 6   Antifa a terrorist organization?

 7         A    A law enforcement organization, no.

 8         Q    Hasn't the FBI labeled the Antifa a terrorist

 9   organization?

10        A     No.   So the FBI doesn't maintain list of domestic

11   terrorist organizations.       What it has are categories of domestic

12   extremism, which include antigovernment extremism, eco

13   terrorism, antiabortion extremism, a race based extremism.

14         Q    You're aware that Ted Cruz wants to label the Antifa a

15   terrorist organization?

16         A     I have read that.

17                    MS. KLEIDMAN:      Objection.

18                    THE COURT:     I will sustain that objection.

19         Q    You're also aware that the President of the United

20   States wants to label

21                    MS. KLEIDMAN:      Objection.

22                    THE COURT:     I will sustain that objection.

23                    MR. HART:     That's all I have.

24                    THE COURT:     Is there redirect?

25
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                       PEOPLE-REDIRECT-SEGAL


 1   REDIRECT EXAMINATION

 2   BY MS. KLEIDMAN:

 3         Q    You were just asked whether you consider, or whether

 4   Antifa has been designated a terrorist organization.          At the

 5   center of extremism, do you consider either Antifa or the Proud

 6   Boys terrorist organizations?

 7                    MR. GOLDBERG:     Objection.

 8                    THE COURT:     Overruled.

 9        A      I do not consider them terrorist organizations.           I

10   consider them extremists, both.

11         Q    What is the difference?

12        A     So a terrorist organization engages in terrorist acts,

13   which include targeting innocent civilians for religious,

14   political, social, ideological reasons, with the intent of

15   creating them harm.      Extremist movement can engage in physical

16   violence, but may not seek to change the course of government,

17   but also included in that is their ideologies of hatred, we

18   consider to be extreme.

19              Extremists, in general, are sort of anything that is

20   not mainstream in reality.       So back in the day, the abolitionist

21   movement to free African Americans could have been viewed as an

22   extremist movement because the mainstream was very different

23   from the mainstream.

24              So in some cases extremism doesn't have to be bad, per

25   se, just out of the ordinary.        But when you combine extremist

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                         PEOPLE-REDIRECT-SEGAL


 1   tactics like violence with hateful rhetoric, that type of

 2   extremism is what we're talking about today.

 3           Q    You also said you consider the Proud Boys to be Alt

 4   lite, what is the alt lite?

 5           A    So to describe the alt lite, we'll start with the alt

 6   right, which is a moniker that white supremacists started using

 7   several years ago and it became popular around the 2016.

 8                Now, ultimately, what the alt right is is a

 9   repackaging, a renaming of white supremacy.          White supremacists

10   believe in creating a white ethnostate.          They believe that the

11   white race is under attack and going to be extinct because of

12   demographic changes, immigration, PC culture, liberalism, they

13   view Jews controlling all that.          So that's the fundamental

14   belief of the alt right, which is white supremacy.

15                The alt lite was an effort for us to center on

16   extremism and others to differentiate between those who may

17   engage in antisemitism, hatred of Jews, and antimuslim, bigotry,

18   in misogyny, things that white supremacists use, but that don't

19   buy into the broader white supremacist's concept.          So it's

20   hateful.     So it's not alt right, it's alt lite.

21           Q    Now, Mr. Goldberg asked you on cross examination about

22   a number of specific incidents, violent incidents involving

23   Antifa.     Are you aware of specific acts of violence by the Proud

24   Boys?

25           A    Yes.
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 1         Q    And can you tell the jury about some of those specific

 2   incidents that you're aware of?

 3         A     So you know, in New York, obviously there have been a

 4   couple of examples.     There is this trial.      But at Columbia

 5   University there was violence between Proud Boys and counter

 6   demonstrators, earlier, I think a year before, approximately.

 7   We've had incidents that have been raised here, in Oregon, where

 8   violence between Proud Boys and Antifa has occurred.

 9               The Proud Boys put the Proud Boy of the month on their

10   website.   One month, an individual who knocked out a member of

11   Antifa, that was videotaped, received that privilege.           And so,

12   you know, pretty much, most places in which law enforcement is

13   not able to separate the two groups, there is violence between

14   the Proud Boys and others.

15         Q     You were asked about the specific incidents of

16   violence involving Antifa, but the majority of the incidents

17   that were mentioned, were the Proud Boys also presented for

18   those incident?

19         A     In many, many of the instances that were raised before

20   those, were violent confrontations with the Proud Boys.

21         Q     You were also asked, on cross examination, about the

22   Unite the Right Rally in Charlottesville, Virginia, in 2017,

23   were Proud Boys present at that rally?

24         A     Yes.

25         Q     Who is the current leader of the Proud Boys?

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 1         A    Enrique Tarrio, in Florida.

 2         Q    Was he also present at the Unite the Right Rally?

 3         A    He was.

 4         Q    What was that rally, and what happened there?

 5                     MR. GOLDBERG:    Objection.

 6                     THE COURT:    I think we'll sustain that objection.

 7                     MS. KLEIDMAN:    They opened the door based on

 8         their line of cross examination.

 9                     THE COURT:    I understand, but we didn't go into

10         details of that one.

11         Q    Are you also familiar with a Patriot Prayer Rally in

12   Portland in June of 2018?

13        A     Yes.

14         Q    And are you familiar with an event that occurred at

15   that Patriot Prayer Rally in Portland, where Proud Boys

16   assaulted an activist that was not associated with Antifa?

17                     MR. HART:    Objection.

18                     THE COURT:    Overruled.

19         A     I do know that individuals who are not members of

20   Antifa tend to get -- who are present in a place where there is

21   violence, they sometimes get impacted by that violence.              So I am

22   familiar with that, yes.

23         Q    Are you also familiar with an event in May of 2018

24   where a Proud Boy attacked a black teenager at a Vancouver mall

25   that was not associated what Antifa or any kind of protest?

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 1         A     I read about that.

 2         Q    Are you also familiar with a Patriots Day Rally in

 3   Berkeley, that occurred in the Spring of 2018, where a member of

 4   the Proud Boys punched a female counter protestor also not

 5   involved with Antifa?

 6         A     Yes.

 7         Q    Are you familiar with the Freedom to be Violent Rally

 8   held in Berkeley, California in March of 2017, where a member of

 9   the Proud Boys beat someone with a stick?

10         A    Yes.

11         Q    Are you also familiar with the Deplorable Ball that

12   was held in January of 2017, where Gavin Mcinnes punched a

13   protestor outside the event?

14         A     Yes.

15         Q     Now, again, you were asked about a number of violent

16   incidents that Antifa may or may not have participated in on

17   cross examination.     Is it fair to say that as the director at

18   the Center on Extremism, you are not familiar with every

19   specific act of violence perpetrated by any extremist group in

20   the last 13 years?

21         A    Yes, there just -- and to give context to that, one of

22   the resources that we have on our website is a list of terrorist

23   plots, terrorist attacks, incidents of white supremacists

24   propaganda, antisemitic incidents.           We're looking at over 8,000

25   or so in that period of time, and that's not all the extremists

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 1   activity that occurs.          So that just gives a context to how much

 2   we're talking about in this country alone.

 3           Q       You were also asked on cross examination about whether

 4   the Proud Boys promote violence against government.              How about

 5   against Antifa?

 6         A         Yes.

 7         Q         As far as Antifa goes, isn't it true that Proud Boys

 8   have been heard saying, and I quote, "I would like any Antifa,

 9   any of these fucking dumb social justice warriors to know, if

10   you show up to cause trouble, you'll get it back 10 fold.               If

11   you show up to harass anyone

12                          MR. GOLDBERG:    Objection.

13                          THE COURT:     I will overrule the objection at this

14           time.

15           Q          we will harass you into oblivion.        If you show up

16   and you want to fight anyone, well that's just a gift from

17   above, because we will fucking break your nose.             We won't just

18   break your nose, we will collapse your eye socket.               The only

19   thing

20                          THE COURT:     I think we got the idea.

21                   Have you heard that?

22                          THE WITNESS:     Yes.   I believe -- and I hope this

23           was Gavin Mcinnes.

24           Q       You've heard Gavin Mcinnes make that statement before?

25         A         Yes.
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 1         Q    Have you heard him advocate for violence against

 2   Antifa at other times?

 3        A     Yes.    On his podcast it shows, et cetera, Gavin

 4   Mcinnes glorifies violence against Antifa and the left more

 5   broadly.   You know, there is different terms that people use to

 6   mean the same thing.      It's standard.

 7         Q    Has Gavin Mcinnes also stated, and I quote --

 8                     THE COURT:    I think we get it.

 9                     MR. GOLDBERG:    Objection.

10                     THE COURT:    I'll sustain that objection.         I think

11        we have the idea.

12        Q     Now, you were also asked on cross examination about

13   the Proud Boys' guiding principles.          What are the Proud Boys'

14   guiding principles?

15                     MR. GOLDBERG:    Objection to the use of guiding

16        principles.

17                     THE COURT:    Whatever the term was, if you

18        understand it, you can answer the question.

19        A     So the Proud Boys view themselves as a conservative

20   organization that is a fraternity of mostly men, primarily

21   men -- although there have been some women who have been

22   involved -- whose goal it is to defend their viewpoint from

23   those who oppose it, in particular the left.          That includes

24   Antifa and others.

25              What is the ultimate goal of this group?         I mean, some

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 1   may view, when you monitor their activities, when you monitor

 2   what they're talking about, I think it's to get a bunch of guys

 3   primarily together, under some sort of political ideology, and

 4   to provide them with an opportunity to push back against their

 5   perceived political enemies.        That's pretty much what they've

 6   been doing since 2016.

 7         Q     Now, you were also asked if one of the things that the

 8   Proud Boys believe in is venerating the housewife.          Can you

 9   explain what that means?

10         A     I don't exactly know what they mean by that.         I have

11   heard them talk about they respect women so much, they really

12   believe that the role of women, for example, in the 1950s, sort

13   of the being at home, more traditional values is how they,

14   that's sort of the world view that they appreciate.

15         Q     Have you heard that Gavin Mcinnes preach the Proud

16   Boys that women shouldn't vote and should stick to fashion?

17                      MR. GOLDBERG:    Objection.

18                      THE COURT:   Overruled.

19         A     I have heard that.

20         Q     Have you also heard him talk about how sexual

21   harassment doesn't exist as it pertains to women?

22         A     Yes.

23                      MR. HART:    Objection.

24                      THE COURT:    I'll overrule that.    But I think we

25         can move on.
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 1         Q      Now, you were also asked on cross examination about

 2   whether the Proud Boys are antiracist.        Can you tell us a little

 3   more about the views that the Proud Boys have expressed with

 4   regards to race and religion?

 5         A      I think some of the key ideological points for the

 6   Proud Boys is their opposition to Islam.        Gavin Mcinnes has

 7   said, I'm an Islamophobe.       If you call me that, you're accurate.

 8   Something like that.      They've had protests in front of Muslim

 9   community in Upstate New York called Islamberg where members of

10   the Proud Boys were involved there.

11                Gavin Mcinnes himself has written, created a video,

12   The Top 10 Things I Hate About Jews.         He's talked about women

13   as, you know, lazy.     So the collection of antimuslim sentiment,

14   from its leadership and other members, the misogyny, what some

15   might regard as jokes against other communities, all is part of

16   this atmosphere that is created by this group, which is why I

17   don't consider them antiracist at all.         If anything, I view them

18   leveraging issues of race and religion to try to attract more

19   followers.

20         Q      Now, you were specifically asked, on cross

21   examination, about the Proud Boys and black members.           Despite

22   the fact that there are members that are black, have you heard

23   Gavin Mcinnes make racial remarks before?

24         A      I have heard Gavin Mcinnes call Jada Pinkett, the

25   actress, a monkey.
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                        PEOPLE-REDIRECT-SEGAL


 1        Q      Have you also frequently heard them use the N word,

 2   which I won't use in Court?

 3        A      Gavin Mcinnes, I've heard him use the N word.            He's

 4   sort of done the Sieg Heil, that Nazi salute as well.

 5        Q      Have you also heard him mock the Black Lives Matter

 6   movement?

 7        A      I would say I don't recall at this point on that

 8   specific point.

 9        Q      Have you heard him refer to the United States as white

10   country?

11        A      Yes.

12        Q      Have you heard Gavin Mcinnes say, the day we fight for

13   the 14th Amendment, I may have a tummy ache?

14                      THE COURT:   Could you try to talk into the mic?

15         Q     The day we fight for the 14th Amendment, I may have a

16   tummy ache.

17        A      I feel like I have read that one.

18         Q     Have you heard him say, blacks can take pain better.

19   Maybe those lashings weren't so painful?

20        A      Yes.

21         Q     Have you also heard Gavin Mcinnes express antiasian

22   views?

23        A      You know, I don't recall.        If I may note, there are

24   hours, upon hours, upon hours of video, and podcasts, and

25   speeches.     Much of this becomes repetitive.       So everything that

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                       RECROSS-MR. GOLDBERG-SEGAL


 1   you've talked about is very much characteristic of what Gavin

 2   Mcinnes has said on his podcasts, even if I don't remember every

 3   specific little example.

 4         Q     But you've heard him make antiblack, antiasian,

 5   antihispanic, and antihomosexual remarks?

 6        A      Yes.     The thing about extremist speech today in

 7   particular, I think this is important, is that a lot of it is

 8   couched in intentional efforts to create irony or humor.             And a

 9   lot of times people will make comments and say, I'm just

10   kidding, or deliver it in a way they think might be funny or

11   humorous.    But the impact of that type of hatred, those trigger

12   words, those code words land on people in different ways.

13               So I would just say that actually part of what you're

14   describing is a tactic to combine what is sort of classically

15   known as hatred with humor because it makes it easier to digest,

16   especially for younger people on-line.

17                      MS. KLEIDMAN:    No further questions.

18                       THE COURT:   Anything further?

19                       MR. GOLDBERG:   I have a couple.

20   RECROSS-EXAMINATION

21   BY MR. GOLDBERG:

22        Q      Did you speak with the prosecutor over lunch?

23        A      No.

24        Q      Did you go to lunch yourself?

25        A      With a colleague.
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                    RECROSS-MR. GOLDBERG-SEGAL


 1         Q    Have you -- is there anything you said today that you

 2   haven't discussed with the prosecutor on a prior occasion?

 3         A    Yeah, I think so.

 4         Q    You discussed everything, all your answers this

 5   afternoon with Ms. Steinglass?

 6                      MS. KLEIDMAN:    Objection.

 7                      THE COURT:     It's not Ms. Steinglass, it's

 8         Mr. Steinglass.

 9              You've spoken to the prosecutor about what your

10         testimony would involve?

11                      THE WITNESS:     Yes, not every last thing.

12         Q    The questions you were asked this afternoon, which

13   were not asked on direction examination, were you asked those

14   questions by the prosecutors in this case?

15         A     In prep, yes.

16         Q     So you had them available?

17         A     I had the prosecutors available?

18         Q    My question to you is:        Is there anything in writing,

19   that you can show us, where this is what you actually told them,

20   any notes that you made?

21                      MS. KLEIDMAN:     Objection.

22                      THE COURT:     I'll overrule the objection.

23         Q     Is this from your memory?

24         A     Yes.

25         Q     When I ask you about Antifa, you seem to have lapses

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                     RECROSS-MR. GOLDBERG-SEGAL


 1   in memory, isn't that correct?

 2                     MS. KLEIDMAN:    Objection?

 3         A     I disagree.

 4         Q    Let me ask you a question:        How do you distinguish a

 5   real journalist from a person walking in an event with Antifa

 6   with a cap on?     How would Antifa distinguish who the real

 7   journalist or someone trying to take their picture?

 8         A     I don't know how they would do that.

 9         Q    But they beat them up anyway, isn't that correct?

10         A    Who?

11         Q    The journalist, actual journalist?

12         A     In Portland?

13         Q     In just about every City you've named?

14                     MS. KLEIDMAN:    Objection.

15                     THE COURT:    I'll allow the question.     You can

16         answer.

17         A     I would say I don't really know what you're talking

18   about on that.

19         Q    Have you heard of Proud Boys blowing up and setting

20   fire to police cars?

21         A     I have not.

22         Q     But you've heard Antifa has?

23         A     I have.

24         Q     On how many occasions?

25         A    A handful.
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                     RECROSS-MR. GOLDBERG-SEGAL


 1         Q    A handful, does that mean six?

 2         A     I don't have that number.

 3         Q     I'm curious, you say that the Antifa people wear masks

 4   and black clothing, even when they're with each other having

 5   meetings, as you say?

 6         A     I'm not sure I talked about what they do in meetings

 7   with each other.     I'm not there.     I can't comment.

 8         Q    You were asked, by the

 9                     THE COURT:    Let the witness answer.     Go ahead.

10         A     I don't know what they wear in meetings that I'm not

11   there.

12         Q    But you told us, a little while ago, that you have

13   heard, or seen, or read, that Antifa people wear masks and black

14   clothing even when they're with themselves?

15         A     I don't recall that.      What you may be referring to is

16   that these individuals meet and organize on-line, and I still

17   don't know what they wear.

18         Q    While we're on that, you indicated there is no

19   organization amongst Antifa people, is that what you said?

20         A     It's loosely affiliated.         There is some organization

21   in terms of, you know, on-line alerting each other to where an

22   event might be.     But it's not as structured as a membership

23   organization.

24         Q     So in other words, a person who wants to don a mask

25   and wears black clothing can show up at an event for whatever

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                    RECROSS-MR. GOLDBERG-SEGAL


 1   reason he wants?

 2         A     Sure.

 3         Q     No matter how deranged or abnormal that person is, he

 4   would be accepted by the group?

 5                       MS. KLEIDMAN:    Objection.

 6                       THE COURT:     Do they check who is there and look

 7         for membership cards?

 8                       THE WITNESS:    No.

 9                       THE COURT:     So if somebody deranged shows up, he

10         might just be there, right?

11                       THE WITNESS:    Yes.

12         Q     So anybody who has a gripe with the government, and

13   can afford a mask, and wear black clothing, and show up in a

14   protest, would be a perfectly welcome as an Antifa individual,

15   isn't that right?

16         A     I don't know.        I don't know how to answer that

17   question.

18         Q     Is there any reason why he couldn't be a card-carrying

19   member of Antifa, show up no matter how deranged he is?

20         A     He couldn't be a card-carrying member because they

21   don't carry cards.

22                       MR. GOLDBERG:     I have no further questions.

23                       MR. HART:     I have a couple of questions.

24

25

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                      RECROSS-MR. HART-SEGAL


 1   RECROSS-EXAMINATION

 2   BY MR. HART:

 3         Q    Aren't you aware that many of the statements that were

 4   just read to you by the prosecutor from a Gavin Mcinnes show,

 5   were taken out of context?       For example, there are many times

 6   where Gavin Mcinnes would say, okay, I'm going to be viewed as a

 7   racist, so if I use the N word, I just did it, nigger, I'm going

 8   to be viewed as a racist.       And a lot of times those statements

 9   are taken out of context.       So they say, oh, Gavin Mcinnes used

10   the N word, so therefore, he must be a racist, correct, you've

11   heard that before, right?

12        A     This is the first time I've heard that framing.            I'm

13   not sure I understand the question.

14         Q    The question is that many of the statements you're

15   hearing from the prosecutor, that he's a racist, he's against

16   Asians, a lot of those statements, the use of the N word, all he

17   was saying was, you know what, if I'm accused of being a racist.

18   If I use the N word, I'm going to be accused of being a racist.

19   So guess what, I'm going to use the N word, nigger.          So now I'm

20   going to be called a racist?

21                    THE COURT:     You're being asked about the context

22         of the statement.     Have you listened to these podcasts?

23         Can you answer that?

24                    THE WITNESS:      I have.   I do believe that, not

25         necessarily all the statements you've just heard, but some

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                       RECROSS-MR. HART-SEGAL


 1         and others, I think it's Gavin Mcinnes' MO to be

 2         provocative, to try to use language like that, which he

 3         thinks is funny.     I don't think it's funny.       I don't think

 4         the N word, in any context is funny.

 5              I think the concern I have, as somebody who monitors

 6         extremists, and extremist violence, not everybody is going

 7         to think that's funny.      Some may think it's real, and some

 8        people may act on it.       That's why I take extremism and hate

 9         speech so seriously and how they're connected.

10         Q     I understand that, but my question is, that since

11   Gavin Mcinnes defended himself on many of these podcasts will

12   say, hey, the left is accusing me of being a racist.           The left

13   is accusing me of being against Asians.           The left is accusing me

14   as being against Jews.      So if I say anything against Jews, boom,

15   the ADL says now I'm against Jews.           You've heard him say some of

16   those things on the podcast.       To you it's not funny, but he

17   defends himself

18                     THE COURT:     This is getting to be a very

19         complicated question.

20               Do you think some of those, in context, are simply

21         efforts to defend himself?

22                     THE WITNESS:    Well, he has made efforts to defend

23         himself from what he's saying, to downplay the significance

24         of it, to say I'm just joking, or I'm trying to make a

25         larger point.     I'm saying, the impact of a hate speech is

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                       RECROSS-MR. HART-SEGAL


 1         serious, whether you think you're being serious or not.

 2         Q     So you disagree with the way he's been defending

 3   himself.    So to you, your view is he's promoting racism when

 4   he's defending himself --

 5                     MS. KLEIDMAN:    Objection.

 6                     THE COURT:    We're getting into a compound

 7         question.    How about we try to keep it shorter.

 8         Q     Simply, when he defends himself, you are aware that

 9   he's defending himself by using humor on these podcasts,

10   correct?

11         A     I am aware that he has defended himself.

12                        (CONTINUED ON NEXT PAGE)

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                         CROSS         OREN SEGAL - MR. HART

 1          Q.      And he had mentioned, and I believe this was an - - I

 2     think the individual's name is Ruffio, (phonetic), where he got
 3     arrested.
 4                      Was he a Proud Boy?
 5          A.      I don't remember Ruffio.
 6                       Is this the case in Portland?

 7          Q.      Someone was hit with a metal baton.       I think it was an
 8         are you aware of an incident where someone was hit with a
 9     metal baton, they were a Proud Boy, but he defended himself,
10     police looked at the video, realized this was an individual who
11     defended himself from someone Ml.O attacked
12                      MS. KLEIDMAN: Objection.
13                       'IHE COURT:   We have had so many instances on both

14         sides.    It's repetitive.     Let's move on.
15                      MR. HART: I'll withdraw that question.

16                       I have nothing further.

17                      MS. KLEIDMAN:      I don't have any additional

18         questions.
19                       I want to make sure People's 2 is admitted into

20         evidence.
21                       'IHE COURT:   It is in evidence.

22                       Sir, thank you.     You may step dovv:n.

23                       (Witness exits)
24                       Ladies and gentlemen, in just a minute we 11 take1




25         our break.    I want to talk to you a little first about what



                    Phyllis Dauria, Senior Court Reporter
